                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN


  In re:                                             §      Case No. 16-31984-MAR
                                                     §
  KING PAR, LLC                                      §
                                                     §
                                                     §
                      Debtor(s)                      §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Samuel D. Sweet, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $179,297.22                  Assets Exempt:      NA
(without deducting any secured claims)



Total Distributions to                                     Claims Discharged
Claimants:                        $1,961,070.12            Without Payment:    NA

Total Expenses of
Administration:                   $343,695.38


        3)      Total gross receipts of $2,304,765.50 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $0.00 (see Exhibit 2), yielded net receipts of $2,304,765.50 from
the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
 16-31984-mar          Doc 340      Filed 09/01/20       Entered 09/01/20 12:02:13   Page 1 of 45
                                   CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                 SCHEDULED         ASSERTED           ALLOWED                PAID
  Secured Claims
  (from Exhibit 3)                      $0.00         $102,768.94         $94,719.83         $94,719.83
  Priority Claims:
      Chapter 7
      Admin. Fees and                     NA          $343,695.38       $343,695.38         $343,695.38
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                     NA                $0.00              $0.00               $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                     $6,055.62          $60,336.81         $46,869.83         $46,869.83
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                   $5,509,516.00     $6,096,082.64       $4,484,500.69      $1,819,480.46
  Exhibit 7)
           Total
     Disbursements               $5,515,571.62     $6,606,727.61       $4,969,785.73      $2,304,765.50

        4). This case was originally filed under chapter 7 on 08/25/2016. The case was pending
  for 48 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 08/28/2020                               By:   /s/ Samuel D. Sweet
                                                         /Sa   Trustee
                                                         mu
                                                         el
                                                         D.
                                                         Sw
                                                         eet
  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



UST Form 101-7-TDR (10/1/2010)
 16-31984-mar          Doc 340       Filed 09/01/20    Entered 09/01/20 12:02:13         Page 2 of 45
                                                  EXHIBITS TO
                                                 FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                     UNIFORM                          AMOUNT
                                                                       TRAN. CODE                       RECEIVED
Accounts receivable Over 90 days old $350,605.54 face amount              1121-000                        $32,068.19
$131,818.05 doubtful or uncollectible accounts
Trademark License                                                         1121-000                        $90,000.00
Computers, Servers, Copy Machines                                         1129-000                           $408.35
Desks, Chairs, Tables, Partitions                                         1129-000                           $272.23
Golf Range Equipment - Golf Ball Dispensors/Lawn Equip.                   1129-000                           $326.68
J.P. Morgan Chase Checking 4860                                           1129-000                           $100.00
J.P. Morgan Chase Checking 7832                                           1129-000                        $61,598.27
Misc. awards, autographs & pictures                                       1129-000                            $27.22
Retail Fixtures & equipment                                               1129-000                           $272.23
Retail Goods                                                              1129-000                        $13,611.62
Truck (1HTSCAAM81H359688)                                                 1129-000                            $81.67
Refund from United States Treasury                                        1224-000                            $49.23
Fidelity Investments 401K overage                                         1229-000                         $4,427.99
Petty Cash - Cash on Hand                                                 1229-000                           $328.00
Pruco Life Insurance Term Policy                                          1229-000                     $2,001,718.23
Pending Preference complaint against Calloway Golf                        1241-000                        $15,000.00
Potential Preference against FedEx Corporation                            1241-000                        $17,000.00
Potential Preference against Gear for Sports, Inc.                        1241-000                        $17,365.65
Preference against Puma North America, Inc.                               1241-000                        $16,500.00
Preference Payment to Headwater Country Club                              1241-000                         $3,613.85
Preference Payment to Midwest Golf Mngt of Minnesota                      1241-000                         $3,972.65
Preference Payment to Mizuno                                              1241-000                         $3,527.48
Preference Payment to The Elk River Country Club, Inc.                    1241-000                         $1,500.00
Preference Payment to Town & Country Club                                 1241-000                         $2,146.25
Preference to Emily Greens Golf Course                                    1241-000                         $3,243.09
Preferenced to Bradley R. Behnke Golf Management, LLC                     1241-000                         $5,480.14
Refund from Consumers Energy Company for Utilities                        1290-000                         $8,215.26
Refund of overpayment on dental coverage for employees                    1290-000                           $129.40
State of Michigan Unclaimed Funds                                         1290-000                         $1,781.82
TOTAL GROSS RECEIPTS                                                                                   $2,304,765.50

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES
 NONE


 EXHIBIT 3 – SECURED CLAIMS

UST Form 101-7-TDR (10/1/2010)
 16-31984-mar          Doc 340        Filed 09/01/20       Entered 09/01/20 12:02:13              Page 3 of 45
 CLAIM          CLAIMANT            UNIFORM         CLAIMS                CLAIMS   CLAIMS            CLAIMS
NUMBER                             TRAN. CODE    SCHEDULED              ASSERTED ALLOWED               PAID
     13       Northland Capital      4110-000              $0.00           $1,475.12        $0.00        $0.00
              Financial Services
              LLC
     41       Charter Township       4110-000              $0.00          $13,902.08    $7,328.09    $7,328.09
              of Flint
              JP Morgan Chase        4210-000              $0.00          $26,500.00   $26,500.00   $26,500.00
              Bank, N.A.
              Payment of JP          4210-000              $0.00          $60,891.74   $60,891.74   $60,891.74
              Morgan Chase
              Bank secured
              claim p/o
              2/28/2017
              [DN83]
TOTAL SECURED CLAIMS                                       $0.00        $102,768.94    $94,719.83   $94,719.83


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE               UNIFORM             CLAIMS           CLAIMS             CLAIMS            CLAIMS
                          TRAN. CODE        SCHEDULED         ASSERTED           ALLOWED               PAID
Samuel D. Sweet,              2100-000                NA           $92,392.97     $92,392.97        $92,392.97
Trustee
Samuel D. Sweet,              2200-000                NA             $132.40           $132.40        $132.40
Trustee
Insurance Partners            2300-000                NA              $41.00            $41.00         $41.00
Insurance Partners            2300-000                NA             $460.66           $460.66        $460.66
Agency, Inc.
Bank of Texas                 2600-000                NA             $525.39           $525.39        $525.39
Pinnacle Bank                 2600-000                NA            $2,042.16      $2,042.16         $2,042.16
Department of Labor           2690-000                NA            $1,500.00      $1,500.00         $1,500.00
United States                 2700-000                NA            $1,750.00      $1,750.00         $1,750.00
Bankruptcy Court
Bold Technologies             2990-000                NA             $700.00           $700.00        $700.00
Bold Technologies,            2990-000                NA            $1,014.01      $1,014.01         $1,014.01
Inc.
D4, LLC                       2990-000                NA             $187.69           $187.69        $187.69
Melville Capital SPG,         2990-000                NA            $2,000.00      $2,000.00         $2,000.00
LLC
Samuel D. Sweet,              3110-000                NA           $11,450.00     $11,450.00        $11,450.00
PLC, Attorney for
Trustee
Samuel D. Sweet,              3120-000                NA            $1,463.69      $1,463.69         $1,463.69
PLC, Attorney for
Trustee
Elias Majoros,                3210-000                NA           $76,753.50     $76,753.50        $76,753.50
Attorney for Trustee
ELIAS T. MAJOROS,             3210-000                NA           $49,776.00     $49,776.00        $49,776.00
Attorney for Trustee

UST Form 101-7-TDR (10/1/2010)
 16-31984-mar           Doc 340      Filed 09/01/20   Entered 09/01/20 12:02:13              Page 4 of 45
Elias Majoros,                 3220-000                NA            $1,121.39         $1,121.39         $1,121.39
Attorney for Trustee
ELIAS T. MAJOROS,              3220-000                NA             $301.41           $301.41           $301.41
Attorney for Trustee
Mueller & Company,             3410-000                NA           $15,028.50        $15,028.50        $15,028.50
P.C., Accountant for
Trustee
Mueller & Company,             3410-000                NA           $32,412.50        $32,412.50        $32,412.50
PC, Accountant for
Trustee
Mueller & Company,             3420-000                NA              $22.31            $22.31            $22.31
P.C., Accountant for
Trustee
Melville Capital, LLC,         3991-000                NA           $40,000.00        $40,000.00        $40,000.00
Other Professional
Ronald Clifford,               3991-120                NA           $10,169.80        $10,169.80        $10,169.80
Attorney for Creditor
Melville Capital, LLC,         3992-000                NA            $2,450.00         $2,450.00         $2,450.00
Other Professional
TOTAL CHAPTER 7 ADMIN. FEES AND                        NA       $343,695.38         $343,695.38        $343,695.38
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM          CLAIMS              CLAIMS          CLAIMS         CLAIMS
NUMBER                              TRAN. CODE     SCHEDULED            ASSERTED        ALLOWED            PAID
     33       Comptroller of          5800-000               $0.00        $3,620.39        $2,120.39     $2,120.39
              Public Accounts
     34       Michigan                5800-000               $0.00       $44,749.44       $44,749.44    $44,749.44
              Department of
              Treasury
     36       State Board of          5800-000               $0.00        $3,869.38            $0.00         $0.00
              Equalization
     39       Charter Township        5800-000           $6,055.62        $8,097.60            $0.00         $0.00
              of Flint
TOTAL PRIORITY UNSECURED CLAIMS                          $6,055.62       $60,336.81       $46,869.83    $46,869.83


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT             UNIFORM        CLAIMS              CLAIMS           CLAIMS          CLAIMS
NUMBER                              TRAN. CODE   SCHEDULED            ASSERTED         ALLOWED             PAID
     1        United Parcel           7100-000              $0.00       $2,789.13         $2,789.13      $1,135.43
              Service
     2        Callaway Golf Co        7100-000         $92,225.00      $98,242.96             $0.00          $0.00
     3        Navitas Credit          7100-000              $0.00      $41,843.80             $0.00          $0.00
              Corp.

UST Form 101-7-TDR (10/1/2010)
 16-31984-mar            Doc 340      Filed 09/01/20    Entered 09/01/20 12:02:13              Page 5 of 45
     4        Estes Express       7100-000          $1,112.00     $1,111.66      $1,111.66       $452.55
              Lines
     5        Werre & Betzen      7100-000              $0.00    $11,323.78     $11,323.78      $4,609.79
              Sales, Inc
     6        U.S. Bank, N.A.     7100-000          $4,539.00    $53,720.04     $38,536.43     $15,687.72
              dba U.S. Bank
              Equipment
              Finance
     7        Cobra Puma Golf,    7100-000              $0.00    $61,681.54     $61,681.54     $25,109.82
              Inc.
     8        Acushnet            7100-000              $0.00   $125,386.68    $105,000.00     $42,744.25
              Company
     9        Consumer            7100-000           $246.00      $1,700.06      $1,700.06       $692.07
              Testing
              Laboratories Inc.
     10       Clear Rate          7100-000           $711.00     $13,469.65     $13,469.65      $5,483.33
              Communications,
              Inc.
     11       Plymouth            7100-000          $7,474.00     $7,124.22      $7,124.22      $2,900.19
              Packaging Inc.
     12       Brent               7100-000           $396.00      $4,873.36      $4,873.36      $1,983.89
              Spangenberg
              Sales
     14       CONSUMERS           7100-000         $21,775.00    $12,048.41     $12,048.41      $4,904.76
              ENERGY
              COMPANY
     15       Interactive         7100-000           $300.00       $300.00         $300.00       $122.13
              Frontiers, Inc.
     16       Dynamic Brands      7100-000              $0.00     $7,759.55      $7,759.55      $3,158.82
     17       FedEx Corporate     7100-000           $501.00     $10,664.03     $10,664.03      $4,341.20
              Services Inc. as
              Assignee
     18       Advanced Carrier    7100-000           $289.00     $30,914.13     $30,914.13     $12,584.77
              Technologies,
              LLC
     19       Spanner Ltd.        7100-000              $0.00     $3,214.80      $3,214.80      $1,308.71
     20       HongKong            7100-000              $0.00 $1,130,775.40   $1,080,775.40   $439,970.78
              YuHui Indus.
              Co., Ltd. dba
              LingHui
     21       Team Effort         7100-000              $0.00     $6,341.38      $6,341.38      $2,581.50
              Incorporated
     22       Pitney Bowes        7100-000           $814.00       $832.90         $832.90       $339.06
              Global Financial
              Services LLC
     23       Pitney Bowes        7100-000              $0.00     $2,369.35      $2,369.35       $964.53
              Global Financial
              Services LLC
    24a       Mizuno USA c/o      7100-000          $7,862.00    $12,740.96     $12,740.96      $5,186.69
              Cindy Bobbitt
     25       Bell Warehousing    7100-000          $3,583.00     $7,172.56      $7,172.56      $2,919.86

UST Form 101-7-TDR (10/1/2010)
 16-31984-mar          Doc 340    Filed 09/01/20    Entered 09/01/20 12:02:13          Page 6 of 45
              & Mfg. Service
     26       Coast to Coast     7100-000               $0.00      $705.71         $705.71       $247.00
              Logistics, LLC
              United States      7100-001               $0.00         $0.00          $0.00        $40.29
              Bankruptcy Court
              (Claim No. 26;
              Coast to Coast
              Logistics, LLC)
     27       Callaway Golf Co   7100-000               $0.00   $113,242.96     $98,242.96     $24,993.54
     28       Arlen              7100-000         $336,312.00   $538,583.11    $350,000.00    $142,480.83
              International
              Corporation
     29       Ping, Inc.         7100-000               $0.00    $47,310.68     $47,310.68     $19,259.61
     30       Taylor Made Golf   7100-000           $2,073.00   $130,068.94    $130,068.94     $52,949.52
              Company, Inc.
     31       PRO SATURN         7100-000    $1,899,016.00 $3,391,353.54      $2,214,142.95   $901,351.20
              INDUSTRIAL
              CO.
     32       Ashlor Staffing    7100-000           $3,638.00     $5,254.23      $3,638.00      $1,480.99
              Services
    33a       Comptroller of     7100-000           $2,110.00      $422.00         $422.00       $171.79
              Public Accounts
     35       MacNeill           7100-000          $85,788.00    $74,568.07     $74,568.07     $30,355.77
              Engineering Co
              Inc
    36a       State Board of     7100-000               $0.00     $3,514.97          $0.00          $0.00
              Equalization
     37       Canadian           7100-000          $46,396.00    $30,828.03     $30,828.03     $12,549.72
              American
     38       Task Performance   7100-000           $1,410.00     $4,230.00      $4,230.00      $1,721.98
              Group, Inc.
     40       Custom Branded     7200-000               $0.00    $16,740.05     $16,740.05      $6,814.67
              Sportswear Inc
     42       JPMorgan Chase     7100-000               $0.00    $75,860.00     $75,860.00     $30,881.70
              Bank, N.A.
              Trustee is         7100-000               $0.00    $15,000.00     $15,000.00     $15,000.00
              receiving
              $15,000.00 p/o
              3/26/19 [DN275]
              A&R                7100-000               $0.00         $0.00          $0.00          $0.00
              COLLECTIBLES
              ACCELERATOR        7100-000               $0.00         $0.00          $0.00          $0.00
              GOLF, INC
              ACCOUNT            7100-000             $15.00          $0.00          $0.00          $0.00
              CONTROL
              TECHNOLOGY,
              INC
              ACCUFLI INC        7100-000          $32,475.00         $0.00          $0.00          $0.00
              ADAMS GOLF         7100-000               $0.00         $0.00          $0.00          $0.00
              ADS PLUS           7100-000            $289.00          $0.00          $0.00          $0.00

UST Form 101-7-TDR (10/1/2010)
 16-31984-mar          Doc 340   Filed 09/01/20     Entered 09/01/20 12:02:13          Page 7 of 45
              ADVERTISING        7100-000         $396.00       $0.00         $0.00     $0.00
              SPECIALTY
              INSTITUTE
              AETREX             7100-000           $0.00       $0.00         $0.00     $0.00
              WORLDWIDE
              AHEAD              7100-000           $0.00       $0.00         $0.00     $0.00
              HEADGEAR
              ALAN BRINK         7100-000           $0.00       $0.00         $0.00     $0.00
              ALDILA INC         7100-000           $0.00       $0.00         $0.00     $0.00
              ALLESON            7100-000           $0.00       $0.00         $0.00     $0.00
              ATHLETIC
              AMERICAN           7100-000           $0.00       $0.00         $0.00     $0.00
              GOLF
              MARKETING
              ANDY GUZIK         7100-000           $0.00       $0.00         $0.00     $0.00
              ANTIGUA            7100-000           $0.00       $0.00         $0.00     $0.00
              GROUP, INC
              AQUARIUS,          7100-000           $0.00       $0.00         $0.00     $0.00
              LTD
              ARANCO             7100-000           $0.00       $0.00         $0.00     $0.00
              ASHER GOLF         7100-000           $0.00       $0.00         $0.00     $0.00
              ASHWORTH           7100-000           $0.00       $0.00         $0.00     $0.00
              INC
              ATLAS PEN &        7100-000           $0.00       $0.00         $0.00     $0.00
              PENCIL
              AUR                7100-000           $0.00       $0.00         $0.00     $0.00
              AVEO MOR           7100-000         $122.00       $0.00         $0.00     $0.00
              LLC
              BAG BOY CO         7100-000           $0.00       $0.00         $0.00     $0.00
              BAG TAG, LLC       7100-000           $0.00       $0.00         $0.00     $0.00
              BARRACUDA          7100-000         $100.00       $0.00         $0.00     $0.00
              NETWORKS ,
              INC
              BARTH &            7100-000           $0.00       $0.00         $0.00     $0.00
              MCCALLING,
              LLC
              BELLA              7100-000           $0.00       $0.00         $0.00     $0.00
              ANDMORE
              CORPORATION
              BENETTI & CO       7100-000           $0.00       $0.00         $0.00     $0.00
              BERGLUND           7100-000           $0.00       $0.00         $0.00     $0.00
              GOLF SALES
              BERMUDA            7100-000           $0.00       $0.00         $0.00     $0.00
              SANDS
              BETTE &            7100-000           $0.00       $0.00         $0.00     $0.00
              COURT GOLF
              BETTINARDI         7100-000           $0.00       $0.00         $0.00     $0.00
              GOLF INC


UST Form 101-7-TDR (10/1/2010)
 16-31984-mar          Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13    Page 8 of 45
              BILL SWEET         7100-000            $0.00      $0.00         $0.00     $0.00
              BIONIC             7100-000            $0.00      $0.00         $0.00     $0.00
              BIRDIE             7100-000            $0.00      $0.00         $0.00     $0.00
              BITE LLC           7100-000         $3,854.00     $0.00         $0.00     $0.00
              BNB GROUP          7100-000            $0.00      $0.00         $0.00     $0.00
              BOSTON
              BOB WIESEN         7100-000            $0.00      $0.00         $0.00     $0.00
              BOGEY PRO          7100-000            $0.00      $0.00         $0.00     $0.00
              GOLF
              BOO WEEKLEY        7100-000            $0.00      $0.00         $0.00     $0.00
              APPAREL
              BOYNE              7100-000            $0.00      $0.00         $0.00     $0.00
              COUNTRY
              SPORTS
              BRAD               7100-000            $0.00      $0.00         $0.00     $0.00
              LANGDON
              BRIAN              7100-000            $0.00      $0.00         $0.00     $0.00
              COFFMAN
              BRIAN              7100-000            $0.00      $0.00         $0.00     $0.00
              DAMERON
              BRIAN              7100-000            $0.00      $0.00         $0.00     $0.00
              MINBIOLE
              BRIAN              7100-000          $250.00      $0.00         $0.00     $0.00
              WEBBER
              BRIDGESTONE        7100-000            $0.00      $0.00         $0.00     $0.00
              SPORT USA INC
              BRIDGESTONE        7100-000         $5,298.00     $0.00         $0.00     $0.00
              SPORTS
              BUG BAM            7100-000            $0.00      $0.00         $0.00     $0.00
              BUGATCHI           7100-000            $0.00      $0.00         $0.00     $0.00
              BUICK OPEN         7100-000            $0.00      $0.00         $0.00     $0.00
              BURTON GOLF        7100-000            $0.00      $0.00         $0.00     $0.00
              INC
              BUSHNELL           7100-000            $0.00      $0.00         $0.00     $0.00
              CORP
              CADDY SHACK        7100-000            $0.00      $0.00         $0.00     $0.00
              LIVONIA
              CADDYPRO           7100-000           $90.00      $0.00         $0.00     $0.00
              GOLF
              PRODUCTS
              CALLAWAY           7100-000            $0.00      $0.00         $0.00     $0.00
              GOLF
              RANGEFINDER
              S
              CAM GOLF           7100-000            $0.00      $0.00         $0.00     $0.00
              CAROLINA           7100-000         $1,936.00     $0.00         $0.00     $0.00
              HOSIERY
              MILLS


UST Form 101-7-TDR (10/1/2010)
 16-31984-mar          Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13    Page 9 of 45
              CENTURY            7100-000          $3,261.00    $0.00         $0.00     $0.00
              MARKETING
              CORP
              CHAMP              7100-000              $0.00    $0.00         $0.00     $0.00
              CHARTER            7100-000         $11,529.00    $0.00         $0.00     $0.00
              TOWNSHIP OF
              FLINT
              CHARTER TWP        7100-000          $1,096.00    $0.00         $0.00     $0.00
              OF FLINT
              CHERRY             7100-000              $0.00    $0.00         $0.00     $0.00
              CREEK DIST.
              CO
              CHILIWEAR          7100-000              $0.00    $0.00         $0.00     $0.00
              LLC
              CHRIS              7100-000         $62,999.00    $0.00         $0.00     $0.00
              COFFMAN
              Chris Sullivan     7100-000              $0.00    $0.00         $0.00     $0.00
              CINDY SMITH        7100-000              $0.00    $0.00         $0.00     $0.00
              CINTAS             7100-000           $581.00     $0.00         $0.00     $0.00
              CORPORATION
              #308
              CLARK HILL         7100-000          $8,235.00    $0.00         $0.00     $0.00
              CLARK HILL         7100-000          $3,837.00    $0.00         $0.00     $0.00
              PLC
              CLARKE DIST        7100-000              $0.00    $0.00         $0.00     $0.00
              CO
              CLEVELAND          7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF
              CLEVER             7100-000              $0.00    $0.00         $0.00     $0.00
              PRODUCTS
              CLIC GEAR          7100-000              $0.00    $0.00         $0.00     $0.00
              CLUB CLUB,         7100-000              $0.00    $0.00         $0.00     $0.00
              INC
              CN IS              7100-000              $0.00    $0.00         $0.00     $0.00
              BELIEVING,
              INC
              COMMERCE           7100-000           $491.00     $0.00         $0.00     $0.00
              TECHNOLOGIE
              S
              COMMERCEHU         7100-000           $925.00     $0.00         $0.00     $0.00
              B
              CREATURE           7100-000              $0.00    $0.00         $0.00     $0.00
              COMFORTS
              PLUSH TOYS
              CROCS              7100-000              $0.00    $0.00         $0.00     $0.00
              CROSSMARK          7100-000            $16.00     $0.00         $0.00     $0.00
              CRYSTAL            7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF
              CUTTER &           7100-000              $0.00    $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 10 of 45
              BUCK INC
              DANCIN' DOGG       7100-000           $856.00     $0.00         $0.00     $0.00
              DAPHNE'S           7100-000              $0.00    $0.00         $0.00     $0.00
              HEADCOVERS
              DATREK             7100-000              $0.00    $0.00         $0.00     $0.00
              PROFESSIONAL
              BAGS
              DEAN NAUDI         7100-000              $0.00    $0.00         $0.00     $0.00
              DEAN SNOW          7100-000           $360.00     $0.00         $0.00     $0.00
              PLOWING
              DECO LECO          7100-000              $0.00    $0.00         $0.00     $0.00
              LLC
              DESCENTE           7100-000              $0.00    $0.00         $0.00     $0.00
              DESIGNS BY         7100-000          $1,968.00    $0.00         $0.00     $0.00
              DEE DEE
              DEVANT             7100-000              $0.00    $0.00         $0.00     $0.00
              SPORT TRAVEL
              DEXTER SHOE        7100-000              $0.00    $0.00         $0.00     $0.00
              CO INC
              Digital Medics     7100-000              $0.00    $0.00         $0.00     $0.00
              DILLARDS           7100-000         $32,465.00    $0.00         $0.00     $0.00
              DEPT STORES,
              INC.
              DIVIX GOLF         7100-000              $0.00    $0.00         $0.00     $0.00
              INC
              DOEREN             7100-000          $2,500.00    $0.00         $0.00     $0.00
              MAYHEW
              INSURANCE
              GROUP
              DON DENYER         7100-000              $0.00    $0.00         $0.00     $0.00
              DORFMAN-           7100-000              $0.00    $0.00         $0.00     $0.00
              PACIFIC CO.,
              INC
              DOSKOCIL           7100-000              $0.00    $0.00         $0.00     $0.00
              MANUGACTUR
              ING CO.,INC
              DOUG BETHEL        7100-000          $5,051.00    $0.00         $0.00     $0.00
              SALES INC.
              DRENALINE          7100-000              $0.00    $0.00         $0.00     $0.00
              PRODUCTS,
              LLC
              DUCK PRESS         7100-000          $7,760.00    $0.00         $0.00     $0.00
              DUNHAM'S           7100-000              $0.00    $0.00         $0.00     $0.00
              SPORTS
              EASTER SEALS       7100-000              $0.00    $0.00         $0.00     $0.00
              MICHIGAN INC
              EASTERN            7100-000              $0.00    $0.00         $0.00     $0.00
              PACIFIC
              APPAREL

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 11 of 45
              EATON              7100-000              $0.00    $0.00         $0.00     $0.00
              CORPORATION
              ECCO               7100-000          $4,937.00    $0.00         $0.00     $0.00
              ENCORE             7100-000          $1,566.00    $0.00         $0.00     $0.00
              GROUP
              ETONIC             7100-000              $0.00    $0.00         $0.00     $0.00
              WORLDWIDE
              LLC
              EYEKING            7100-000              $0.00    $0.00         $0.00     $0.00
              FAIRWAY &          7100-000              $0.00    $0.00         $0.00     $0.00
              GREENE
              FAIRWAY            7100-000              $0.00    $0.00         $0.00     $0.00
              OUTFITTERS
              FAIRWAY            7100-000              $0.00    $0.00         $0.00     $0.00
              STYLES
              FANMATS LLC        7100-000              $0.00    $0.00         $0.00     $0.00
              Fathead LLC        7100-000           $117.00     $0.00         $0.00     $0.00
              FAY KENRICK        7100-000          $1,000.00    $0.00         $0.00     $0.00
              FIDRA              7100-000              $0.00    $0.00         $0.00     $0.00
              FIFTH THIRD        7100-000          $1,012.00    $0.00         $0.00     $0.00
              BANK -
              SMARTMOVE
              FINETUNEGOL        7100-000              $0.00    $0.00         $0.00     $0.00
              F
              FLETCHER           7100-000              $0.00    $0.00         $0.00     $0.00
              LEISURE
              GROUP INC
              FOOTJOY INC        7100-000              $0.00    $0.00         $0.00     $0.00
              FOREMOST           7100-000         $90,282.00    $0.00         $0.00     $0.00
              GOLF MFG.,
              LTD
              FORMOSA            7100-000         $61,804.00    $0.00         $0.00     $0.00
              GOLF
              CORPORATION
              FORRESTER'S        7100-000         $36,360.00    $0.00         $0.00     $0.00
              INC
              FOURTEEN           7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF INC
              FROGGER            7100-000              $0.00    $0.00         $0.00     $0.00
              FUJIKURA           7100-000              $0.00    $0.00         $0.00     $0.00
              COMPOSITE
              AMERICA, INC
              FUNDEX             7100-000              $0.00    $0.00         $0.00     $0.00
              GAMES
              G T & T SALES      7100-000              $0.00    $0.00         $0.00     $0.00
              GALLANT            7100-000              $0.00    $0.00         $0.00     $0.00
              BELT
              COMPANY
              GAME GOLF          7100-000              $0.00    $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 12 of 45
              GAME WEAR,         7100-000               $0.00     $0.00         $0.00     $0.00
              INC
              Garb, Inc          7100-000               $0.00     $0.00         $0.00     $0.00
              GARMIN             7100-000               $0.00     $0.00         $0.00     $0.00
              GARSEN GOLF        7100-000           $3,828.00     $0.00         $0.00     $0.00
              LLC
              GARY               7100-000               $0.00     $0.00         $0.00     $0.00
              DOMAGALSKI
              GARY               7100-000               $0.00     $0.00         $0.00     $0.00
              HUMENNY
              GATORMADE          7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF
              GEAR FOR           7100-000          $17,140.00     $0.00         $0.00     $0.00
              SPORTS
              GERBER GOLF        7100-000               $0.00     $0.00         $0.00     $0.00
              GH GRIFFITH        7100-000          $16,937.00     $0.00         $0.00     $0.00
              HACK
              GIFT BOX           7100-000           $4,891.00     $0.00         $0.00     $0.00
              CORP OF
              AMERICA
              GILLROYS           7100-000             $43.00      $0.00         $0.00     $0.00
              GLEN ECHO          7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF WEAR
              GLOVE IT           7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF APPAREL       7100-000               $0.00     $0.00         $0.00     $0.00
              BRANDS
              GOLF AROUND        7100-000               $0.00     $0.00         $0.00     $0.00
              THE WORLD,
              INC
              GOLF BUDDY         7100-000               $0.00     $0.00         $0.00     $0.00
              Golf County Inc    7100-000           $3,190.00     $0.00         $0.00     $0.00
              GOLF DESIGN,       7100-000               $0.00     $0.00         $0.00     $0.00
              INC
              GOLF               7100-000               $0.00     $0.00         $0.00     $0.00
              ELEMENT
              GOLF GIFTS &       7100-000               $0.00     $0.00         $0.00     $0.00
              GALLERY
              GOLF               7100-000               $0.00     $0.00         $0.00     $0.00
              LIQUIDATORS
              GOLF               7100-000         $118,045.00     $0.00         $0.00     $0.00
              LOGISTICS,
              LTD
              GOLF MANIA         7100-000               $0.00     $0.00         $0.00     $0.00
              OUTLET
              GOLF               7100-000               $0.00     $0.00         $0.00     $0.00
              MICHIGAN
              PLAYBOOK
              Golf Shops Inc.    7100-000               $0.00     $0.00         $0.00     $0.00


UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20     Entered 09/01/20 12:02:13   Page 13 of 45
              GOLF TECH          7100-000         $1,600.00     $0.00         $0.00     $0.00
              SYSTEMS LTD
              GOLFKNICKER        7100-000            $0.00      $0.00         $0.00     $0.00
              S
              GOLFSMITH          7100-000            $0.00      $0.00         $0.00     $0.00
              INTERNATION
              AL
              GOLFTINI           7100-000            $0.00      $0.00         $0.00     $0.00
              GOLFWORKS          7100-000            $0.00      $0.00         $0.00     $0.00
              GOLHER             7100-000            $0.00      $0.00         $0.00     $0.00
              GORMAN GOLF        7100-000            $0.00      $0.00         $0.00     $0.00
              PRODUCTS,
              INC
              GPG CREATIVE       7100-000            $0.00      $0.00         $0.00     $0.00
              DIAPLAY, LLC
              GREAT              7100-000            $0.00      $0.00         $0.00     $0.00
              DIVIDER GOLF,
              INC
              GREAT LAKES        7100-000         $1,781.00     $0.00         $0.00     $0.00
              PKG SUPPLY,
              INC
              GREENHOUSE         7100-000            $0.00      $0.00         $0.00     $0.00
              INT'L LLC
              GREENKEEPER        7100-000            $0.00      $0.00         $0.00     $0.00
              S
              GREG MOORE         7100-000            $0.00      $0.00         $0.00     $0.00
              GREG               7100-000          $158.00      $0.00         $0.00     $0.00
              NORMAN
              COLLECTION
              GRIP GUIDES        7100-000            $0.00      $0.00         $0.00     $0.00
              H&H, LLC           7100-000            $0.00      $0.00         $0.00     $0.00
              H2GOLF             7100-000            $0.00      $0.00         $0.00     $0.00
              COMPANY LLC
              HABITAT            7100-000            $0.00      $0.00         $0.00     $0.00
              INTERNATION
              AL INC
              HARRISON           7100-000            $0.00      $0.00         $0.00     $0.00
              HARRY              7100-000            $0.00      $0.00         $0.00     $0.00
              VARDON GOLF
              HARVEY             7100-000          $200.00      $0.00         $0.00     $0.00
              LOPEZ
              HEARTLAND          7100-000            $0.00      $0.00         $0.00     $0.00
              CONSUMER
              PRODUCTS,
              LLC
              HEATMAX, INC       7100-000            $0.00      $0.00         $0.00     $0.00
              HI-TEC             7100-000            $0.00      $0.00         $0.00     $0.00
              High Five          7100-000            $0.00      $0.00         $0.00     $0.00
              HILLERICH &        7100-000            $0.00      $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 14 of 45
              BRADSBY CO
              HJGLOVE            7100-000              $0.00    $0.00         $0.00     $0.00
              HOLE INONE         7100-000              $0.00    $0.00         $0.00     $0.00
              HONMA GOLF         7100-000              $0.00    $0.00         $0.00     $0.00
              HORNUNG'S          7100-000              $0.00    $0.00         $0.00     $0.00
              HUFFY SPORTS       7100-000           $178.00     $0.00         $0.00     $0.00
              CANADA INC
              I GOTCHA           7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF
              I. STERN &         7100-000              $0.00    $0.00         $0.00     $0.00
              COMPANY
              IDB FACTORS        7100-000              $0.00    $0.00         $0.00     $0.00
              IMPERIAL           7100-000              $0.00    $0.00         $0.00     $0.00
              HEADWEAR
              INC
              IMPORT             7100-000              $0.00    $0.00         $0.00     $0.00
              MERCHANDISE
              RS INC.
              INDUSTRIAL         7100-000              $0.00    $0.00         $0.00     $0.00
              BAG AND
              SPECIALTIES
              INTERNAL           7100-000           $254.00     $0.00         $0.00     $0.00
              REVENUE
              SERVICE
              INTERNATION        7100-000          $2,070.00    $0.00         $0.00     $0.00
              AL BUSINESS
              MACHINES
              INTERNATION        7100-000              $0.00    $0.00         $0.00     $0.00
              AL GOLF
              INTERTEK           7100-000           $125.00     $0.00         $0.00     $0.00
              TESTING
              SERVICES
              HONG
              IRA STERN          7100-000              $0.00    $0.00         $0.00     $0.00
              IRON GLOVES        7100-000              $0.00    $0.00         $0.00     $0.00
              INC
              IZOD G             7100-000              $0.00    $0.00         $0.00     $0.00
              J & M GOLF         7100-000         $17,478.00    $0.00         $0.00     $0.00
              J LINDEBERG        7100-000              $0.00    $0.00         $0.00     $0.00
              J.T.D.             7100-000              $0.00    $0.00         $0.00     $0.00
              ENTERPRISES,
              INC
              JAMIE SADOCK       7100-000              $0.00    $0.00         $0.00     $0.00
              LLC
              JD GROUP           7100-000              $0.00    $0.00         $0.00     $0.00
              JEFF               7100-000              $0.00    $0.00         $0.00     $0.00
              THORNHILL
              JIM BUELOW         7100-000              $0.00    $0.00         $0.00     $0.00


UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 15 of 45
              Jimmy Hack Golf    7100-000          $2,362.00    $0.00         $0.00     $0.00
              LLC
              JMW GOLF           7100-000              $0.00    $0.00         $0.00     $0.00
              JOFIT GOLF         7100-000              $0.00    $0.00         $0.00     $0.00
              WEAR
              JOHN JENKINS       7100-000              $0.00    $0.00         $0.00     $0.00
              JOHN T             7100-000          $4,712.00    $0.00         $0.00     $0.00
              LINDHOLM,
              TRUSTEE
              JOHNNY             7100-000           $104.00     $0.00         $0.00     $0.00
              APPLESEED
              INC
              JP BEDARD          7100-000              $0.00    $0.00         $0.00     $0.00
              JP LANN GOLF       7100-000              $0.00    $0.00         $0.00     $0.00
              JP8 Logistic       7100-000         $14,015.00    $0.00         $0.00     $0.00
              Services LLC
              JR286, INC         7100-000              $0.00    $0.00         $0.00     $0.00
              JULIE SWARTZ       7100-000              $1.00    $0.00         $0.00     $0.00
              Justin McNeil      7100-000              $0.00    $0.00         $0.00     $0.00
              K-TOOL             7100-000              $0.00    $0.00         $0.00     $0.00
              INTERNATION
              AL
              K. BELL SPORT      7100-000              $0.00    $0.00         $0.00     $0.00
              SOCKS
              KADENA USA         7100-000              $0.00    $0.00         $0.00     $0.00
              INC
              KARSTEN MFG        7100-000         $46,666.00    $0.00         $0.00     $0.00
              CO
              KELLY              7100-000              $0.00    $0.00         $0.00     $0.00
              KUHLMAN LLC
              KEN MOORE          7100-000              $0.00    $0.00         $0.00     $0.00
              KENEWELL           7100-000          $2,216.00    $0.00         $0.00     $0.00
              GROUP
              KINGSTAR           7100-000         $24,638.00    $0.00         $0.00     $0.00
              SPORTS
              LIMITED
              KINSEY'S           7100-000              $0.00    $0.00         $0.00     $0.00
              KLONE LAB,         7100-000              $0.00    $0.00         $0.00     $0.00
              LLC
              KOOLATRON          7100-000              $0.00    $0.00         $0.00     $0.00
              KYE POWER          7100-000              $0.00    $0.00         $0.00     $0.00
              KYNE SPORT         7100-000              $0.00    $0.00         $0.00     $0.00
              LADY'S FIRST       7100-000              $0.00    $0.00         $0.00     $0.00
              LAMKIN             7100-000              $0.00    $0.00         $0.00     $0.00
              CORPORATION
              LANTIS             7100-000              $0.00    $0.00         $0.00     $0.00
              EYEWEAR
              CORP

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 16 of 45
              LASER LABEL        7100-000           $1,225.00     $0.00         $0.00     $0.00
              TECHNOLOGIE
              S
              LASER LINK         7100-000               $0.00     $0.00         $0.00     $0.00
              LAVA               7100-000               $0.00     $0.00         $0.00     $0.00
              MARKETING
              GROUP
              LB BELT            7100-000               $0.00     $0.00         $0.00     $0.00
              COMPANY
              LEASE              7100-000           $2,127.00     $0.00         $0.00     $0.00
              OPERATIONS
              LEEGIN             7100-000               $0.00     $0.00         $0.00     $0.00
              LEATHER
              PRODUCTS
              LEUPOLD            7100-000               $0.00     $0.00         $0.00     $0.00
              LIFE IS GOOD       7100-000               $0.00     $0.00         $0.00     $0.00
              LIJA               7100-000               $0.00     $0.00         $0.00     $0.00
              LINE-UP FOR        7100-000               $0.00     $0.00         $0.00     $0.00
              SPORT
              LINGHUI GOLF       7100-000         $908,848.00     $0.00         $0.00     $0.00
              ACCESSORIES
              FACTORY
              LINKS CHOICE       7100-000               $0.00     $0.00         $0.00     $0.00
              LINKS              7100-000               $0.00     $0.00         $0.00     $0.00
              WALKER
              LINKSOUL           7100-000           $4,189.00     $0.00         $0.00     $0.00
              LIQUIDMETAL        7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF
              LIZ                7100-000               $0.00     $0.00         $0.00     $0.00
              CLARIBORNE
              INC
              LJC GOLF           7100-000               $0.00     $0.00         $0.00     $0.00
              COMPANY
              LOFT8              7100-000          $30,000.00     $0.00         $0.00     $0.00
              PERFORMANC
              E APPAREL
              LONDON FOG         7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF
              LORI JOHNSON       7100-000               $0.00     $0.00         $0.00     $0.00
              M L WILSON         7100-000               $0.00     $0.00         $0.00     $0.00
              CO
              M&M WATCH          7100-000               $0.00     $0.00         $0.00     $0.00
              M.A.S.             7100-000               $0.00     $0.00         $0.00     $0.00
              INDUSTRIES
              MACGREGOR          7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF
              COMPANY
              MACNEILL           7100-000               $0.00     $0.00         $0.00     $0.00
              ENGINEERING

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20     Entered 09/01/20 12:02:13   Page 17 of 45
              MADRONA            7100-000              $0.00    $0.00         $0.00     $0.00
              CONCEPTS,
              LLC
              MAERSK             7100-000         $40,864.00    $0.00         $0.00     $0.00
              LOGISTIC
              MALIN              7100-000          $1,599.00    $0.00         $0.00     $0.00
              DISTRIBUTORS
              /TRI CITY
              MAPLE HILL         7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF
              MARCIA             7100-000              $0.00    $0.00         $0.00     $0.00
              MARI               7100-000              $0.00    $0.00         $0.00     $0.00
              COPENHAVER
              MARK R.            7100-000           $113.00     $0.00         $0.00     $0.00
              WHRITNER
              MARTINI TEES       7100-000              $0.00    $0.00         $0.00     $0.00
              MAUI JIM           7100-000              $0.00    $0.00         $0.00     $0.00
              MAXWELLS           7100-000              $0.00    $0.00         $0.00     $0.00
              WHOELSALE
              MAXX               7100-000           $103.00     $0.00         $0.00     $0.00
              DISTRIBUTION
              MAXX               7100-000              $0.00    $0.00         $0.00     $0.00
              SUNGLASSES
              MCLAREN            7100-000           $197.00     $0.00         $0.00     $0.00
              MEDICAL
              MANAGEMENT
              MEDICUS -          7100-000              $0.00    $0.00         $0.00     $0.00
              RMG
              MEREDITH           7100-000              $0.00    $0.00         $0.00     $0.00
              MARKVA
              MICHAEL P.C.       7100-000           $208.00     $0.00         $0.00     $0.00
              SHAW
              Michael Rutt       7100-000          $1,335.00    $0.00         $0.00     $0.00
              MIKE               7100-000              $0.00    $0.00         $0.00     $0.00
              GARRISON
              MILLIONARIE        7100-000              $0.00    $0.00         $0.00     $0.00
              GALLERY
              MIURA GOLF         7100-000              $0.00    $0.00         $0.00     $0.00
              INC
              MOLHIMAWK          7100-000              $0.00    $0.00         $0.00     $0.00
              INC
              MOMENTUS           7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF
              MONTEREY           7100-000              $0.00    $0.00         $0.00     $0.00
              CLUB
              MOTOR CITY         7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF
              WAREHOUSE
              MV SPORT           7100-000              $0.00    $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 18 of 45
              NANCY              7100-000               $0.00     $0.00         $0.00     $0.00
              HOWLES
              NANCY LOPEZ        7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF
              NATIONAL           7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF ART
              NAVIKA USA         7100-000               $0.00     $0.00         $0.00     $0.00
              INC
              NEEDLE &           7100-000               $0.00     $0.00         $0.00     $0.00
              THREADS
              NEO FIBER          7100-000           $1,779.00     $0.00         $0.00     $0.00
              INDUSTRIAL
              CO. LTD.
              NEVER              7100-000               $0.00     $0.00         $0.00     $0.00
              COMPROMISE
              NEW BALANCE        7100-000          $12,385.00     $0.00         $0.00     $0.00
              NEW CENTURY        7100-000               $0.00     $0.00         $0.00     $0.00
              DISPLAYS
              NEWPORT            7100-000               $0.00     $0.00         $0.00     $0.00
              SPORTSWEAR
              NICK PRICE         7100-000               $0.00     $0.00         $0.00     $0.00
              COLLECTION
              NICKENT GOLF       7100-000               $0.00     $0.00         $0.00     $0.00
              NIKE INC           7100-000         $163,660.00     $0.00         $0.00     $0.00
              NIKE INC           7100-000         $109,684.00     $0.00         $0.00     $0.00
              NIKE VISION,       7100-000               $0.00     $0.00         $0.00     $0.00
              TIMING &
              TECHLAB, LP
              NINGBO             7100-000          $91,062.00     $0.00         $0.00     $0.00
              WENTAI
              SPORTS
              EQUIPMENT
              CO.,
              NIVO SPORTS        7100-000               $0.00     $0.00         $0.00     $0.00
              OAKHURST           7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF LLC
              OAKLEY, INC.       7100-000           $4,971.00     $0.00         $0.00     $0.00
              OFFICE DEPOT       7100-000             $95.00      $0.00         $0.00     $0.00
              OGIO               7100-000          $11,455.00     $0.00         $0.00     $0.00
              INTERNATION
              AL, INC
              ORION              7100-000           $2,751.00     $0.00         $0.00     $0.00
              ENERGY
              SYSTEMS, INC
              ORKIN PEST         7100-000            $121.00      $0.00         $0.00     $0.00
              CONTROL
              OUTDOOR            7100-000           $1,995.00     $0.00         $0.00     $0.00
              CUSTOM
              SPORTWEAR
              LLC
UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20     Entered 09/01/20 12:02:13   Page 19 of 45
              OUTKAST, INC,      7100-000              $0.00    $0.00         $0.00     $0.00
              OXFORD             7100-000              $0.00    $0.00         $0.00     $0.00
              INDUSTRIES
              INC
              P&M GLOBAL         7100-000              $0.00    $0.00         $0.00     $0.00
              P&W Golf           7100-000              $0.00    $0.00         $0.00     $0.00
              Supply, LLC
              PACIFIC GOLF       7100-000              $0.00    $0.00         $0.00     $0.00
              ACCESSORIES
              PADERSON           7100-000         $42,178.00    $0.00         $0.00     $0.00
              SPORTING
              GOODS
              Page & Tuttle      7100-000              $0.00    $0.00         $0.00     $0.00
              PARAMOUNT          7100-000          $1,619.00    $0.00         $0.00     $0.00
              APPAREL
              PAUL COTEY         7100-000              $0.00    $0.00         $0.00     $0.00
              ENTERPRISES
              PAULA K            7100-000              $0.00    $0.00         $0.00     $0.00
              TAYLOR
              PERFECT CLUB       7100-000              $0.00    $0.00         $0.00     $0.00
              LLC
              PETE DELANO        7100-000              $0.00    $0.00         $0.00     $0.00
              PIPER GOLF         7100-000          $1,709.00    $0.00         $0.00     $0.00
              ENTERPRISES
              PLAY IT AGAIN      7100-000           $164.00     $0.00         $0.00     $0.00
              SPORTS
              POCKETEC INC       7100-000              $0.00    $0.00         $0.00     $0.00
              POLARA GOLF        7100-000              $0.00    $0.00         $0.00     $0.00
              PORTERLINE         7100-000           $871.00     $0.00         $0.00     $0.00
              POSTMASTER         7100-000           $686.00     $0.00         $0.00     $0.00
              POWER              7100-000              $0.00    $0.00         $0.00     $0.00
              BALANCE, LLC
              Power Bilt Golf    7100-000              $0.00    $0.00         $0.00     $0.00
              PREMIUM            7100-000              $0.00    $0.00         $0.00     $0.00
              SALES
              PRIDE GOLF         7100-000              $0.00    $0.00         $0.00     $0.00
              TEE CO
              PRINCIPAL          7100-000              $0.00    $0.00         $0.00     $0.00
              RESOURCES,
              LLC
              PRINCIPLE          7100-000           $596.00     $0.00         $0.00     $0.00
              PLASTICS
              PRO GOLF           7100-000              $0.00    $0.00         $0.00     $0.00
              BALL SRVS
              LTD
              PRO LINE           7100-000              $0.00    $0.00         $0.00     $0.00
              SPORTS, INC
              PROACTIVE          7100-000              $0.00    $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 20 of 45
              SPORTS, INC.
              PROGENT            7100-000           $374.00     $0.00         $0.00     $0.00
              INFORMATION
              TECHNOLOGY
              PROSHIP            7100-000          $3,236.00    $0.00         $0.00     $0.00
              PUKKA GOLF         7100-000              $0.00    $0.00         $0.00     $0.00
              PUMA NORTH         7100-000              $0.00    $0.00         $0.00     $0.00
              AMERICA, INC.
              PURE SPIN          7100-000              $0.00    $0.00         $0.00     $0.00
              SPORTS
              Q-LINK GOLF        7100-000              $0.00    $0.00         $0.00     $0.00
              QINGDAO            7100-000         $15,512.00    $0.00         $0.00     $0.00
              JINBAI
              PRECISE
              METALS CO
              QUIVER             7100-000              $0.00    $0.00         $0.00     $0.00
              DISTRIBUTION,
              LLC
              R. D. FRANCHI,     7100-000          $8,552.00    $0.00         $0.00     $0.00
              CPA, PLLC
              RALPH              7100-000          $8,765.00    $0.00         $0.00     $0.00
              LAUREN
              RANGE              7100-000              $0.00    $0.00         $0.00     $0.00
              SERVANT
              RAY COOK           7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF
              COMPANY
              RED LION MFG       7100-000              $0.00    $0.00         $0.00     $0.00
              INC.
              REDSTONE           7100-000              $0.00    $0.00         $0.00     $0.00
              REFINER GOLF       7100-000              $0.00    $0.00         $0.00     $0.00
              REGENT             7100-000              $0.00    $0.00         $0.00     $0.00
              SPORTS
              CORPORATION
              RELOAD             7100-000              $0.00    $0.00         $0.00     $0.00
              RECYCLE
              GOLF BALLS
              REMEDY GOLF        7100-000              $0.00    $0.00         $0.00     $0.00
              RETAIL             7100-000         $21,260.00    $0.00         $0.00     $0.00
              NAVIGATOR
              CONSULTING,
              INC
              REYN               7100-000              $0.00    $0.00         $0.00     $0.00
              SPOONER
              RG CONCEPTS        7100-000              $0.00    $0.00         $0.00     $0.00
              RICH IMPORTS       7100-000              $0.00    $0.00         $0.00     $0.00
              RINNA JONES        7100-000              $0.00    $0.00         $0.00     $0.00
              & ASS. LLC
              ROB BACKUS         7100-000              $0.00    $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 21 of 45
              ROCHESTER          7100-000               $0.00     $0.00         $0.00     $0.00
              SHOE TREE
              COMPA
              ROCKET TOUR        7100-000               $0.00     $0.00         $0.00     $0.00
              ROSASEN            7100-000               $0.00     $0.00         $0.00     $0.00
              CLOTHING
              ROSENTHAL &        7100-000               $0.00     $0.00         $0.00     $0.00
              ROSENTHAL
              ROSS, STUART       7100-000           $1,750.00     $0.00         $0.00     $0.00
              AND DAWSON
              INC
              ROVER GOLF         7100-000               $0.00     $0.00         $0.00     $0.00
              ROYAL LINKS        7100-000           $3,300.00     $0.00         $0.00     $0.00
              ROYAL TEES         7100-000            $351.00      $0.00         $0.00     $0.00
              GOLF LLC
              RSG                7100-000               $0.00     $0.00         $0.00     $0.00
              PUBLISHING,
              INC
              Rule Golf          7100-000               $0.00     $0.00         $0.00     $0.00
              S.H.E. 4LIFE,      7100-000               $0.00     $0.00         $0.00     $0.00
              LLC
              SABONA OF          7100-000               $0.00     $0.00         $0.00     $0.00
              LONDON
              UNLIMITE
              SAFETY-            7100-000            $214.00      $0.00         $0.00     $0.00
              KLEEN
              SYSTEMS, INC
              SAM'S CLUB         7100-000            $187.00      $0.00         $0.00     $0.00
              SANDBAGGER         7100-000               $0.00     $0.00         $0.00     $0.00
              S
              SANSABELT          7100-000               $0.00     $0.00         $0.00     $0.00
              SYSTEM
              SAVANT GPS,        7100-000               $0.00     $0.00         $0.00     $0.00
              LLC
              SCANNA CO.,        7100-000           $9,527.00     $0.00         $0.00     $0.00
              LTD
              SCORE BAND         7100-000               $0.00     $0.00         $0.00     $0.00
              SEEMORE            7100-000               $0.00     $0.00         $0.00     $0.00
              SHIN-WOO IND.      7100-000         $164,401.00     $0.00         $0.00     $0.00
              CORP.
              SHOPATRON,         7100-000               $0.00     $0.00         $0.00     $0.00
              INC
              SHRED              7100-000             $45.00      $0.00         $0.00     $0.00
              EXPERTS
              SHUN XING          7100-000          $52,913.00     $0.00         $0.00     $0.00
              LONG GOLF
              PRODUCTS CO
              SIEGFRIED          7100-000               $0.00     $0.00         $0.00     $0.00
              SIGNATURE          7100-000               $0.00     $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20     Entered 09/01/20 12:02:13   Page 22 of 45
              PROMOTIONS
              SISKIYOU            7100-000         $1,930.00     $0.00         $0.00     $0.00
              GIFTS
              SISKIYOU            7100-000            $0.00      $0.00         $0.00     $0.00
              GIFTS
              SKB                 7100-000            $0.00      $0.00         $0.00     $0.00
              CORPORATION
              SKECHERS            7100-000            $0.00      $0.00         $0.00     $0.00
              SHOE CO
              SKLZ                7100-000            $0.00      $0.00         $0.00     $0.00
              skygolf             7100-000            $0.00      $0.00         $0.00     $0.00
              SLAZENGER           7100-000            $0.00      $0.00         $0.00     $0.00
              GOLF
              PRODUCTS
              SMACK               7100-000            $0.00      $0.00         $0.00     $0.00
              APPAREL
              COMPANY
              SMART PATH          7100-000            $0.00      $0.00         $0.00     $0.00
              SYSTEMS, INC
              SMARTWOOL           7100-000            $0.00      $0.00         $0.00     $0.00
              SOCIAL              7100-000            $6.00      $0.00         $0.00     $0.00
              SECURITY
              ADMINISTRATI
              ON
              SOFTSPIKES,         7100-000            $0.00      $0.00         $0.00     $0.00
              INC.
              SOLUS GOLF          7100-000            $0.00      $0.00         $0.00     $0.00
              SONARTEC            7100-000            $0.00      $0.00         $0.00     $0.00
              SPARTAN             7100-000         $2,840.00     $0.00         $0.00     $0.00
              DISTRIBUTORS
              , INC.
              SPECIALIZED         7100-000         $1,083.00     $0.00         $0.00     $0.00
              MARKETING
              SPIRIT              7100-000         $1,482.00     $0.00         $0.00     $0.00
              LEATHERWOR
              KS, L.L.C
              SPOONER             7100-000         $1,566.00     $0.00         $0.00     $0.00
              SALES INC
              SPORT HALEY,        7100-000            $0.00      $0.00         $0.00     $0.00
              INC.
              SPORTS              7100-000            $0.00      $0.00         $0.00     $0.00
              PROMOTION
              SPORTS              7100-000            $0.00      $0.00         $0.00     $0.00
              SENSORS INC
              SPRING              7100-000           $91.00      $0.00         $0.00     $0.00
              MOUNTAIN
              WATER CO
              SRIXON              7100-000         $2,380.00     $0.00         $0.00     $0.00
              SPORTS USA

UST Form 101-7-TDR (10/1/2010)
16-31984-mar            Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 23 of 45
              SSAM SPORTS,       7100-000              $0.00    $0.00         $0.00     $0.00
              INC/PUTTER
              WHEEL
              ST ANDREWS         7100-000          $3,387.00    $0.00         $0.00     $0.00
              PRODUCTS
              ST. JOHN'S         7100-000              $0.00    $0.00         $0.00     $0.00
              MARKETING
              STATE              7100-000          $2,216.00    $0.00         $0.00     $0.00
              COMPTROLLER
              STATE OF           7100-000         $65,000.00    $0.00         $0.00     $0.00
              MICHIGAN
              STERLING CUT       7100-000              $0.00    $0.00         $0.00     $0.00
              GLASS
              STERLING           7100-000              $0.00    $0.00         $0.00     $0.00
              FACTORS
              CORPORATION
              STEWART            7100-000              $0.00    $0.00         $0.00     $0.00
              CHARLEY
              VENTURES
              LLC
              STRAIGHT           7100-000              $0.00    $0.00         $0.00     $0.00
              DOWN
              CLOTHING CO
              STRIKFORCE         7100-000              $0.00    $0.00         $0.00     $0.00
              BOWLING LLC
              STYLO              7100-000              $0.00    $0.00         $0.00     $0.00
              SUE                7100-000              $0.00    $0.00         $0.00     $0.00
              WOODSUM
              SULLIVANS          7100-000          $1,595.00    $0.00         $0.00     $0.00
              CATERING
              SERVICE
              SUMMIT             7100-000         $14,136.00    $0.00         $0.00     $0.00
              IMPORT &
              EXPORT
              SUN BAN            7100-000              $0.00    $0.00         $0.00     $0.00
              FASHIONS
              SUN BAN            7100-000              $0.00    $0.00         $0.00     $0.00
              FASHIONS
              SUN                7100-000              $0.00    $0.00         $0.00     $0.00
              MOUNTAIN
              SPORTS
              SUN N SAND         7100-000              $0.00    $0.00         $0.00     $0.00
              ACCESSORIES
              SUN                7100-000              $0.00    $0.00         $0.00     $0.00
              PRODUCTS
              USA
              SUNDOG             7100-000              $0.00    $0.00         $0.00     $0.00
              MIDWEST
              SUNDOG             7100-000              $0.00    $0.00         $0.00     $0.00
              SPORT
              EYEWEAR USA

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 24 of 45
              SUNFISH            7100-000               $0.00     $0.00         $0.00     $0.00
              SUNICE             7100-000               $0.00     $0.00         $0.00     $0.00
              SUNSET GOLF        7100-000               $0.00     $0.00         $0.00     $0.00
              SUPER STROKE       7100-000               $0.00     $0.00         $0.00     $0.00
              SUPPLY CHAIN       7100-000         $173,604.00     $0.00         $0.00     $0.00
              SHIPPING LLC
              SUPREME            7100-000               $0.00     $0.00         $0.00     $0.00
              INTERNATION
              AL
              SWIFTWICK          7100-000               $0.00     $0.00         $0.00     $0.00
              SWING              7100-000               $0.00     $0.00         $0.00     $0.00
              SCIENCE
              SWING SOCK         7100-000               $0.00     $0.00         $0.00     $0.00
              SWINGWING          7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF
              SWITCH             7100-000          $16,740.00     $0.00         $0.00     $0.00
              TACKI-MAC          7100-000           $2,471.00     $0.00         $0.00     $0.00
              GRIPS
              TAIL INC           7100-000               $0.00     $0.00         $0.00     $0.00
              TAKE 2             7100-000               $0.00     $0.00         $0.00     $0.00
              AUTHENTICS
              Tattoo Golf        7100-000               $0.00     $0.00         $0.00     $0.00
              TAYLOR             7100-000             $76.00      $0.00         $0.00     $0.00
              MADE-ADIDAS
              GOLF
              TAYLORMADE-        7100-000               $0.00     $0.00         $0.00     $0.00
              ADIDAS GOLF
              CO
              TEAM EFFORT|       7100-000               $0.00     $0.00         $0.00     $0.00
              INC
              TEAM GOLF          7100-000               $0.00     $0.00         $0.00     $0.00
              TECHNASONIC        7100-000               $0.00     $0.00         $0.00     $0.00
              ELECT., INC
              TECHNIQUE          7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF LLC
              TECSYS INC         7100-000          $15,909.00     $0.00         $0.00     $0.00
              TEEDUP             7100-000               $0.00     $0.00         $0.00     $0.00
              PRODUCTS
              TEHAMA             7100-000               $0.00     $0.00         $0.00     $0.00
              Telic U.S.A.       7100-000               $0.00     $0.00         $0.00     $0.00
              TERRY              7100-000               $0.00     $0.00         $0.00     $0.00
              SUTTON
              THE CIT            7100-000            $704.00      $0.00         $0.00     $0.00
              GROUP/COMM
              ERCIAL
              SERVICES
              THE CIT            7100-000               $0.00     $0.00         $0.00     $0.00
              GROUP/COMM

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20     Entered 09/01/20 12:02:13   Page 25 of 45
              ERICAL
              THE GAME           7100-000               $0.00     $0.00         $0.00     $0.00
              THE GREAT          7100-000            $150.00      $0.00         $0.00     $0.00
              PUT ON INC
              THE LBH            7100-000               $0.00     $0.00         $0.00     $0.00
              GROUP LTD
              THE OTTER          7100-000               $0.00     $0.00         $0.00     $0.00
              COMPANY
              THE PUTTING        7100-000               $0.00     $0.00         $0.00     $0.00
              ARC, INC
              THE ROCK AT        7100-000               $0.00     $0.00         $0.00     $0.00
              WOODMOOR
              PRO SHOP
              THE                7100-000               $0.00     $0.00         $0.00     $0.00
              SOCKYARD
              COMPANY INC
              THE SPEED          7100-000               $0.00     $0.00         $0.00     $0.00
              STIK
              THE TOP FLITE      7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF CO
              THE TWISTER        7100-000           $3,962.00     $0.00         $0.00     $0.00
              COMPANY
              THE WEATHER        7100-000               $0.00     $0.00         $0.00     $0.00
              COMPANY
              THOM DAMON         7100-000               $0.00     $0.00         $0.00     $0.00
              THOM DAMON         7100-000               $0.00     $0.00         $0.00     $0.00
              TIFOSI OPTICS      7100-000               $0.00     $0.00         $0.00     $0.00
              TIN CUP            7100-000               $0.00     $0.00         $0.00     $0.00
              TITLEIST           7100-000          $13,639.00     $0.00         $0.00     $0.00
              TMAX GEAR          7100-000          $59,703.00     $0.00         $0.00     $0.00
              TMAX GEAR          7100-000               $0.00     $0.00         $0.00     $0.00
              TMAX GEAR          7100-000         $141,985.00     $0.00         $0.00     $0.00
              TO GOLF            7100-000               $0.00     $0.00         $0.00     $0.00
              TOM DEATON         7100-000               $0.00     $0.00         $0.00     $0.00
              TOMMY              7100-000               $0.00     $0.00         $0.00     $0.00
              BAHAMA
              GROUP, INC
              TOSHIBA            7100-000           $2,383.00     $0.00         $0.00     $0.00
              FINANCIAL
              SERVICES
              TOUR EDGE          7100-000               $0.00     $0.00         $0.00     $0.00
              GOLF MANUF
              TOUR GOLF          7100-000           $1,290.00     $0.00         $0.00     $0.00
              GROUP
              Town Talk Mfg      7100-000           $1,470.00     $0.00         $0.00     $0.00
              Co Inc
              TREASURES &        7100-000               $0.00     $0.00         $0.00     $0.00
              TRINKETS, INC

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20     Entered 09/01/20 12:02:13   Page 26 of 45
              TRG GROUP          7100-000              $0.00    $0.00         $0.00     $0.00
              TRIONZ             7100-000              $0.00    $0.00         $0.00     $0.00
              TRU ALIGN          7100-000              $0.00    $0.00         $0.00     $0.00
              GOLF
              TRUE TEMPER        7100-000         $15,056.00    $0.00         $0.00     $0.00
              SPORTS
              TRUE TEMPER        7100-000              $0.00    $0.00         $0.00     $0.00
              SPORTS
              TRUGREEN-          7100-000          $1,115.00    $0.00         $0.00     $0.00
              FLINT 2784
              TURFER             7100-000              $0.00    $0.00         $0.00     $0.00
              ATHLETIC
              TWICE              7100-000              $0.00    $0.00         $0.00     $0.00
              FRAMING
              U.S. CUSTOMS       7100-000          $7,874.00    $0.00         $0.00     $0.00
              AND BORDER
              PROTECTION
              UNDER              7100-000          $1,603.00    $0.00         $0.00     $0.00
              ARMOUR
              UNDER              7100-000              $0.00    $0.00         $0.00     $0.00
              ARMOUR
              UNIQUE             7100-000         $10,211.00    $0.00         $0.00     $0.00
              CONCEPT
              UNITED             7100-000              $0.00    $0.00         $0.00     $0.00
              MARKETING
              UNITED             7100-000              $0.00    $0.00         $0.00     $0.00
              SPORTS
              TECHNOLOGIE
              UPLAYTECH          7100-000              $0.00    $0.00         $0.00     $0.00
              UPS                7100-000          $2,863.00    $0.00         $0.00     $0.00
              US KIDS GOLF       7100-000              $0.00    $0.00         $0.00     $0.00
              V.O. BAKER         7100-000              $0.00    $0.00         $0.00     $0.00
              DISTRIBUTING
              C
              VANTAGE            7100-000              $0.00    $0.00         $0.00     $0.00
              APPAREL
              VERIZON            7100-000          $1,756.00    $0.00         $0.00     $0.00
              WIRELESS
              VIRTUALLY          7100-000              $0.00    $0.00         $0.00     $0.00
              PERFECT GOLF
              VISTA DESIGN       7100-000           $414.00     $0.00         $0.00     $0.00
              STUDIO
              VOLVIK USA         7100-000              $0.00    $0.00         $0.00     $0.00
              INC
              WABEEK             7100-000          $8,759.00    $0.00         $0.00     $0.00
              COUNTRY
              CLUB
              WALNUT             7100-000              $0.00    $0.00         $0.00     $0.00
              CREEK

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 27 of 45
              COUNTRY
              CLUB
              WASTE              7100-000           $89.00      $0.00         $0.00     $0.00
              MANAGEMENT
              Weatherproof       7100-000            $0.00      $0.00         $0.00     $0.00
              Garment
              Company
              WES BENEDICT       7100-000            $0.00      $0.00         $0.00     $0.00
              WEST COAST         7100-000            $0.00      $0.00         $0.00     $0.00
              TRENDS, INC.
              WholesaleGrips     7100-000            $0.00      $0.00         $0.00     $0.00
              Inc
              WILD SALES,        7100-000            $0.00      $0.00         $0.00     $0.00
              LLC
              WILDCAT            7100-000            $0.00      $0.00         $0.00     $0.00
              GOLF WEAR
              WILSON GOLF        7100-000            $0.00      $0.00         $0.00     $0.00
              DIVISION
              WILSON             7100-000         $4,273.00     $0.00         $0.00     $0.00
              SPORTING
              GOODS CO.
              WIN'S              7100-000          $371.00      $0.00         $0.00     $0.00
              ELECTRICAL
              WINDSONG           7100-000            $0.00      $0.00         $0.00     $0.00
              SPORT
              WINDSOR &          7100-000            $0.00      $0.00         $0.00     $0.00
              YORK
              WINN               7100-000            $0.00      $0.00         $0.00     $0.00
              INCORPORATE
              D
              WINNER MATE        7100-000            $0.00      $0.00         $0.00     $0.00
              WINNING            7100-000            $0.00      $0.00         $0.00     $0.00
              EDGE
              DESIGNS, LLC
              WITTEK GOLF        7100-000            $0.00      $0.00         $0.00     $0.00
              SUPPLY
              WOMEN'S            7100-000            $0.00      $0.00         $0.00     $0.00
              GOLF
              UNLIMITED
              YOUNG AND          7100-000         $4,694.00     $0.00         $0.00     $0.00
              BASILE P.C.
              YOUNG              7100-000          $193.00      $0.00         $0.00     $0.00
              LEISURE GOLF
              CO. LTD.
              YOUNG R            7100-000         $2,436.00     $0.00         $0.00     $0.00
              BASILE, P.C
              Yurbuds            7100-000            $0.00      $0.00         $0.00     $0.00
              Zero Friction      7100-000            $0.00      $0.00         $0.00     $0.00
              ZEVO GOLF          7100-000            $0.00      $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13   Page 28 of 45
TOTAL GENERAL UNSECURED CLAIMS                $5,509,516.00 $6,096,082.64   $4,484,500.69   $1,819,480.4
                                                                                                       6




UST Form 101-7-TDR (10/1/2010)
16-31984-mar           Doc 340   Filed 09/01/20   Entered 09/01/20 12:02:13         Page 29 of 45
                                                                                                                                              Page No:     1
                                                                        FORM 1
                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Exhibit 8
                                                              ASSET CASES
Case No.:                    16-31984-MAR                                                     Trustee Name:                               Samuel D. Sweet
Case Name:                   KING PAR, LLC                                                    Date Filed (f) or Converted (c):            08/25/2016 (f)
For the Period Ending:       8/28/2020                                                        §341(a) Meeting Date:                       01/05/2017
                                                                                              Claims Bar Date:                            03/22/2017

                         1                             2                     3                         4                         5                          6

                 Asset Description                   Petition/       Estimated Net Value            Property               Sales/Funds              Asset Fully
                  (Scheduled and                   Unscheduled      (Value Determined by            Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                Value                Trustee,           OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                   Less Liens, Exemptions,                                                        Remaining Assets
                                                                      and Other Costs)

 Ref. #
1       Preference Payment to                (u)      Unknown                     $3,972.65                                          $3,972.65                     FA
        Midwest Golf Mngt of
        Minnesota
2       Preference Payment to The Elk        (u)      Unknown                     $1,500.00                                          $1,500.00                     FA
        River Country Club, Inc.
3       Preference Payment to Town &         (u)      Unknown                     $2,146.25                                          $2,146.25                     FA
        Country Club
4       Preferenced to Bradley R.            (u)      Unknown                     $5,480.14                                          $5,480.14                     FA
        Behnke Golf Management, LLC
5       Preference to Emily Greens           (u)      Unknown                     $3,243.09                                          $3,243.09                     FA
        Golf Course
6       Preference Payment to                (u)      Unknown                     $3,613.85                                          $3,613.85                     FA
        Headwater Country Club
7       Petty Cash - Cash on Hand                       $200.00                     $328.00                                           $328.00                      FA
8       Refund of overpayment on             (u)      Unknown                       $129.40                                           $129.40                      FA
        dental coverage for employees
9       J.P. Morgan Chase Checking                    $3,384.03                     $100.00                                           $100.00                      FA
        4860
10      J.P. Morgan Chase Checking                   $97,956.20                     $706.53                                      $61,598.27                        FA
        7832
11      Accounts receivable 90 days                 $179,297.22                       $0.00                                             $0.00                      FA
        old or less
12      Accounts receivable Over 90                 $218,787.49                  $31,437.50                                      $32,068.19                        FA
        days old $350,605.54 face
        amount $131,818.05 doubtful
        or uncollectible accounts
13      Retail Goods                                $500,000.00                  $13,611.62                                      $13,611.62                        FA
14      Desks, Chairs, Tables,                       $10,000.00                     $272.23                                           $272.23                      FA
        Partitions
15      Retail Fixtures & equipment                  $10,000.00                     $272.23                                           $272.23                      FA
16      Computers, Servers, Copy                     $15,000.00                     $408.35                                           $408.35                      FA
        Machines
17      Misc. awards, autographs &                    $1,000.00                      $27.22                                            $27.22                      FA
        pictures
18      Truck                                         $3,000.00                      $81.67                                            $81.67                      FA
        (1HTSCAAM81H359688)
19      Golf Range Equipment - Golf                  $12,000.00                     $326.68                                           $326.68                      FA
        Ball Dispensors/Lawn Equip.
20      5140 Flushing Rd., Flushing,                       $0.00                      $0.00                                             $0.00                      FA
        MI Lessee
21      Trademark License                            $90,000.00                  $30,000.00                                      $90,000.00                        FA
22      Refund from Consumers                (u)      Unknown                     $8,215.26                                          $8,215.26                     FA
        Energy Company for Utilities
23      Preference against Puma North        (u)      Unknown                    $16,500.00                                      $16,500.00                        FA
               16-31984-mar
        America, Inc.                    Doc 340           Filed 09/01/20          Entered 09/01/20 12:02:13                     Page 30 of 45
                                                                                                                                                  Page No:      2
                                                                          FORM 1
                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                         Exhibit 8
                                                               ASSET CASES
Case No.:                    16-31984-MAR                                                        Trustee Name:                                 Samuel D. Sweet
Case Name:                   KING PAR, LLC                                                       Date Filed (f) or Converted (c):              08/25/2016 (f)
For the Period Ending:       8/28/2020                                                           §341(a) Meeting Date:                         01/05/2017
                                                                                                 Claims Bar Date:                              03/22/2017

                         1                              2                     3                           4                           5                          6

                 Asset Description                   Petition/        Estimated Net Value             Property                Sales/Funds                Asset Fully
                  (Scheduled and                   Unscheduled       (Value Determined by             Abandoned              Received by the          Administered (FA) /
             Unscheduled (u) Property)                Value                 Trustee,            OA =§ 554(a) abandon.            Estate                 Gross Value of
                                                                    Less Liens, Exemptions,                                                            Remaining Assets
                                                                       and Other Costs)

24      Fidelity Investments 401K            (u)       Unknown                     $4,427.99                                              $4,427.99                     FA
        overage
25      Potential Preference against         (u)       Unknown                    $17,365.65                                           $17,365.65                       FA
        Gear for Sports, Inc.
26      Pruco Life Insurance Term            (u)       Unknown                 $2,000,000.00                                        $2,001,718.23                       FA
        Policy
27      Potential Preference against         (u)       Unknown                    $17,000.00                                           $17,000.00                       FA
        FedEx Corporation
28      Refund from United States            (u)       Unknown                        $49.23                                                $49.23                      FA
        Treasury
29      Preference Payment to Mizuno         (u)       Unknown                     $3,527.48                                              $3,527.48                     FA
30     Pending Preference complaint            (u)       Unknown                   $15,000.00                                          $15,000.00                       FA
       against Calloway Golf
Asset Notes:     Trustee resolved this matter by reducing Calloway Golf Company's claim by $15,000.00 p/o 3/26/19 [DN275].
31      State of Michigan Unclaimed          (u)       Unknown                     $1,781.82                                              $1,781.82                     FA
        Funds


TOTALS (Excluding unknown value)                                                                                                          Gross Value of Remaining Assets
                                                   $1,140,624.94               $2,181,524.84                                        $2,304,765.50                  $0.00




Initial Projected Date Of Final Report (TFR):         08/25/2018                                                   /s/ SAMUEL D. SWEET
Current Projected Date Of Final Report (TFR):         08/25/2019                                                   SAMUEL D. SWEET




                16-31984-mar             Doc 340            Filed 09/01/20          Entered 09/01/20 12:02:13                        Page 31 of 45
                                                                                                                                                          Page No: 1
                                                                         FORM 2                                                                       Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          16-31984-MAR                                                               Trustee Name:                            Samuel D. Sweet
Case Name:                        KING PAR, LLC                                                              Bank Name:                               Bank of Texas
Primary Taxpayer ID #:            **-***2217                                                                 Checking Acct #:                         ******3153
Co-Debtor Taxpayer ID #:                                                                                     Account Title:
For Period Beginning:              8/25/2016                                                                 Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 8/28/2020                                                                 Separate bond (if applicable):

       1                2                      3                                    4                                           5                 6                    7

   Transaction       Check /                Paid to/                  Description of Transaction              Uniform         Deposit        Disbursement         Balance
      Date            Ref. #             Received From                                                       Tran Code          $                 $


12/02/2016            (1)      Midwest Golf Mngt of          Turnover of Preference Payment                  1241-000          $3,972.65                              $3,972.65
                               Minnesota
12/02/2016            (2)      The Elk River Country         Turnover of Preference Payment                  1241-000          $1,500.00                              $5,472.65
                               Club, Inc.
12/02/2016            (3)      Town & Country Club           Turnover of Preference Payment                  1241-000          $2,146.25                              $7,618.90
12/02/2016            (4)      Bradley R. Behnke Golf        Turnover of Preference Payment                  1241-000          $5,480.14                           $13,099.04
                               Management, LLC
12/02/2016            (5)      Emily Greens Golf Course      Turnover of Preference Payment                  1241-000          $3,243.09                           $16,342.13
12/02/2016            (6)      Headwater Country Club        Turnover of Preference Payment                  1241-000          $3,613.85                           $19,955.98
12/08/2016            (7)      Samuel D. Sweet, Chapter      Debtor turned over non-exempt petty             1229-000            $328.00                           $20,283.98
                               7 Trustee                     cash to Trustee
12/30/2016                     Bank of Texas                 Account Analysis Fee                            2600-000                             $27.33           $20,256.65
01/31/2017                     Bank of Texas                 Account Analysis Fee                            2600-000                             $32.68           $20,223.97
02/03/2017            (8)      The Guardian Life             Refund of overpayment on Dental                 1290-000            $129.40                           $20,353.37
                               Insurance Company of          Coverage for Employees
02/28/2017                     Bank of Texas                 Account Analysis Fee                            2600-000                             $29.62           $20,323.75
03/06/2017                     Morgan Stanley                Payment on Sale of Tangible Personal                *            $15,000.00                           $35,323.75
                                                             Property p/o 3/1/2017 [DN87]
                      {13}                                                                    $13,611.62     1129-000                                              $35,323.75
                      {14}                                                                         $272.23   1129-000                                              $35,323.75
                      {15}                                                                         $272.23   1129-000                                              $35,323.75
                      {16}                                                                         $408.35   1129-000                                              $35,323.75
                      {17}                                                                          $27.22   1129-000                                              $35,323.75
                      {18}                                                                          $81.67   1129-000                                              $35,323.75
                      {19}                                                                         $326.68   1129-000                                              $35,323.75
03/16/2017           3001      JP Morgan Chase Bank,         Payment on Secured Claim p/o 2/28/2017          4210-000                          $19,000.00          $16,323.75
                               N.A.                          [DN83].
03/28/2017           3002      JP Morgan Chase Bank,         Payment on Secured Claim p/o 2/28/2017          4210-000                           $7,500.00             $8,823.75
                               N.A.                          [DN83].
03/31/2017                     Bank of Texas                 Account Analysis Fee                            2600-000                             $42.45              $8,781.30
04/10/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                         1121-000               $53.83                            $8,835.13
                                                             PAYMENT
04/10/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                         1121-000            $850.00                              $9,685.13
                                                             PAYMENT
04/10/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                         1121-000               $85.00                            $9,770.13
                                                             PAYMENT
04/10/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                         1121-000            $922.59                           $10,692.72
                                                             PAYMENT
04/12/2017            (12)     BJ's Wholesale Club Inc.      A/R Payment                                     1121-000               $36.22                         $10,728.94
04/12/2017            (12)     Scheels                       A/R Payment                                     1121-000               $56.70                         $10,785.64
04/12/2017            (12)     Chameleons A&M, LLC           RETURNED CHECK FOR STOP                         1121-000                $0.80                         $10,786.44
                                                             PAYMENT


                 16-31984-mar                Doc 340         Filed 09/01/20             Entered 09/01/20 12:02:13     Page$26,632.08
                                                                                                              $37,418.52
                                                                                                                           32 of 45
                                                                                                         SUBTOTALS
                                                                                                                                                       Page No: 2
                                                                          FORM 2                                                                   Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                           Trustee Name:                            Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                          Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***2217                                                             Checking Acct #:                         ******3153
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:              8/25/2016                                                              Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 8/28/2020                                                              Separate bond (if applicable):

       1                2                      3                                    4                                        5                 6                    7

   Transaction       Check /             Paid to/                      Description of Transaction          Uniform         Deposit        Disbursement         Balance
      Date            Ref. #          Received From                                                       Tran Code          $                 $


04/12/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000            $935.00                           $11,721.44
                                                             PAYMENT
04/12/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000               $85.00                         $11,806.44
                                                             PAYMENT
04/12/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000               $85.00                         $11,891.44
                                                             PAYMENT
04/12/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000          $2,462.07                           $14,353.51
                                                             PAYMENT
04/12/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000          $1,456.48                           $15,809.99
                                                             PAYMENT
04/12/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000            $922.59                           $16,732.58
                                                             PAYMENT
04/12/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000               $85.00                         $16,817.58
                                                             PAYMENT
04/12/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000            $330.48                           $17,148.06
                                                             PAYMENT
04/12/2017            (12)     Allen Maxwell & Silver Inc.   A/R Payment                                  1121-000          $1,388.24                           $18,536.30
04/12/2017            (22)     Consumers Energy              Refund for Utilities                         1290-000               $53.95                         $18,590.25
                               Company
04/12/2017            (22)     Consumers Energy              Refund for Utilities                         1290-000            $195.31                           $18,785.56
                               Company
04/12/2017            (22)     Consumers Energy              Refund for Utilities                         1290-000          $1,566.92                           $20,352.48
                               Company
04/12/2017            (22)     Consumers Energy              Refund for Utilities                         1290-000                $3.46                         $20,355.94
                               Company
04/12/2017            (22)     Consumers Energy              Refund for Utilities                         1290-000          $3,041.82                           $23,397.76
                               Company
04/12/2017            (22)     Consumers Energy              Refund for Utilities                         1290-000            $341.50                           $23,739.26
                               Company
04/12/2017            (22)     Consumers Energy              Refund for Utilities                         1290-000               $29.71                         $23,768.97
                               Company
04/12/2017            (22)     Consumers Energy              Refund for Utilities                         1290-000          $2,982.59                           $26,751.56
                               Company
04/13/2017           3003      Bold Technologies, Inc.       Payment for computer, server, firewall &     2990-000                           $1,014.01          $25,737.55
                                                             router services
04/25/2017           3004      Bold Technologies             Payment for computer, server, firewall &     2990-000                            $700.00           $25,037.55
                                                             router services
04/27/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000            ($53.83)                          $24,983.72
                                                             PAYMENT
04/27/2017            (12)     Allen Maxwell & Silver Inc.   RETURNED CHECK FOR STOP                      1121-000           ($922.59)                          $24,061.13
                                                             PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                      1121-000           ($850.00)                          $23,211.13
                               Maxwell & Silver Inc.         PAYMENT

                 16-31984-mar               Doc 340          Filed 09/01/20             Entered 09/01/20 12:02:13     Page $1,714.01
                                                                                                              $14,138.70
                                                                                                                           33 of 45
                                                                                                        SUBTOTALS
                                                                                                                                                    Page No: 3
                                                                         FORM 2                                                                 Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                       Trustee Name:                             Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                      Bank Name:                                Bank of Texas
Primary Taxpayer ID #:             **-***2217                                                         Checking Acct #:                          ******3153
Co-Debtor Taxpayer ID #:                                                                              Account Title:
For Period Beginning:              8/25/2016                                                          Blanket bond (per case limit):            $2,000,000.00
For Period Ending:                 8/28/2020                                                          Separate bond (if applicable):

       1                2                      3                                    4                                    5                  6                    7

   Transaction       Check /               Paid to/                   Description of Transaction       Uniform         Deposit         Disbursement         Balance
      Date            Ref. #            Received From                                                 Tran Code          $                  $


04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000            ($85.00)                           $23,126.13
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000         ($2,462.07)                           $20,664.06
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     DEP REVERSE:                  RETURNED CHECK FOR STOP                  1121-000               ($0.80)                         $20,663.26
                               Chameleons A&M, LLC           PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000           ($330.48)                           $20,332.78
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000         ($1,456.48)                           $18,876.30
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000           ($935.00)                           $17,941.30
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000           ($922.59)                           $17,018.71
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000            ($85.00)                           $16,933.71
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000            ($85.00)                           $16,848.71
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     DEP REVERSE: Allen            RETURNED CHECK FOR STOP                  1121-000            ($85.00)                           $16,763.71
                               Maxwell & Silver Inc.         PAYMENT
04/27/2017            (12)     Allen Maxwell & Silver Inc.   A/R Payment                              1121-000          $5,426.62                            $22,190.33
04/28/2017                     Bank of Texas                 Account Analysis Fee                     2600-000                              $21.57           $22,168.76
05/19/2017            (12)     Allen Maxwell & Silver Inc.   A/R Payment                              1121-000          $1,541.47                            $23,710.23
05/31/2017                     Bank of Texas                 Account Analysis Fee                     2600-000                              $36.49           $23,673.74
06/14/2017            (12)     Allen Maxwell & Silver,       A/R Payment                              1121-000               $85.00                          $23,758.74
                               Inc.
06/30/2017                     Bank of Texas                 Account Analysis Fee                     2600-000                              $37.03           $23,721.71
07/20/2017            (21)     Golf Premium Co., Ltd.        A/R Payment                              1121-000         $30,000.00                            $53,721.71
07/26/2017            (12)     Allen Maxwell & Silver Inc.   A/R Payment                              1121-000               $85.00                          $53,806.71
07/31/2017                     Bank of Texas                 Account Analysis Fee                     2600-000                              $58.59           $53,748.12
08/11/2017            (12)     Shopko                        A/R Payment                              1121-000         $11,154.90                            $64,903.02
08/11/2017            (12)     Golf Shops, Inc.              A/R Payment                              1121-000          $9,209.00                            $74,112.02
08/23/2017            (12)     Allen Maxwell & Silver Inc.   A/R Payment                              1121-000               $85.00                          $74,197.02
08/30/2017            (12)     Play It Again Sports          A/R Payment                              1121-000          $1,322.00                            $75,519.02
08/31/2017                     Bank of Texas                 Account Analysis Fee                     2600-000                             $105.24           $75,413.78
09/12/2017            (23)     Puma North America, Inc.      Payment on Compromise w/Puma North       1241-000         $16,500.00                            $91,913.78
                                                             America, Inc. p/o 8/22/2017 [DN143]
09/19/2017            (12)     Allen Maxwell & Silver,       A/R Payment                              1121-000               $85.00                          $91,998.78
                               Inc.
09/22/2017            (24)     Fidelity Investments          Return of overpayment on 401K profit     1229-000          $4,427.99                            $96,426.77
                                                             sharing plan


                 16-31984-mar               Doc 340          Filed 09/01/20             Entered 09/01/20 12:02:13     Page 34
                                                                                                              $73,474.56
                                                                                                                               of 45
                                                                                                                            $258.92
                                                                                                    SUBTOTALS
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                                                                           FORM 2                                                                       Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          16-31984-MAR                                                                 Trustee Name:                            Samuel D. Sweet
Case Name:                        KING PAR, LLC                                                                Bank Name:                               Bank of Texas
Primary Taxpayer ID #:            **-***2217                                                                   Checking Acct #:                         ******3153
Co-Debtor Taxpayer ID #:                                                                                       Account Title:
For Period Beginning:             8/25/2016                                                                    Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                8/28/2020                                                                    Separate bond (if applicable):

       1                2                      3                                     4                                            5                 6                    7

   Transaction       Check /             Paid to/                        Description of Transaction            Uniform          Deposit      Disbursement           Balance
      Date            Ref. #          Received From                                                           Tran Code           $               $


09/28/2017           3005      Melville Capital SPG, LLC     Payment for Life Expectancy Report of             2990-000                           $2,000.00           $94,426.77
                                                             John Runyon
09/29/2017                     Bank of Texas                 Account Analysis Fee                              2600-000                            $134.39            $94,292.38
10/04/2017            (21)     Golf Premium Co., Ltd.        Payment on Compromise w/Golf                      1121-000         $55,000.00                           $149,292.38
                                                             Premium Co., Ltd. p/o 9/18/2017
                                                             [DN154]
10/25/2017                     Pinnacle Bank                 Transfer Funds                                    9999-000                         $149,292.38                  $0.00

                                                                    TOTALS:                                                  $180,031.78        $180,031.78                  $0.00
                                                                        Less: Bank transfers/CDs                                   $0.00        $149,292.38
                                                                    Subtotal                                                 $180,031.78         $30,739.40
                                                                        Less: Payments to debtors                                  $0.00              $0.00
                                                                    Net                                                      $180,031.78         $30,739.40


  For the period of 8/25/2016 to 8/28/2020                                               For the entire history of the account between 12/02/2016 to 8/28/2020

  Total Compensable Receipts:                              $180,031.78                   Total Compensable Receipts:                                $180,031.78
  Total Non-Compensable Receipts:                                $0.00                   Total Non-Compensable Receipts:                                  $0.00
  Total Comp/Non Comp Receipts:                            $180,031.78                   Total Comp/Non Comp Receipts:                              $180,031.78
  Total Internal/Transfer Receipts:                              $0.00                   Total Internal/Transfer Receipts:                                $0.00


  Total Compensable Disbursements:                          $30,739.40                   Total Compensable Disbursements:                            $30,739.40
  Total Non-Compensable Disbursements:                           $0.00                   Total Non-Compensable Disbursements:                             $0.00
  Total Comp/Non Comp Disbursements:                        $30,739.40                   Total Comp/Non Comp Disbursements:                          $30,739.40
  Total Internal/Transfer Disbursements:                   $149,292.38                   Total Internal/Transfer Disbursements:                     $149,292.38




                 16-31984-mar                Doc 340         Filed 09/01/20              Entered 09/01/20 12:02:13                        Page 35 of 45
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                                                                          FORM 2                                                                        Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                                Trustee Name:                            Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                               Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:             **-***2217                                                                  Checking Acct #:                         ******0017
Co-Debtor Taxpayer ID #:                                                                                       Account Title:                           DDA
For Period Beginning:              8/25/2016                                                                   Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 8/28/2020                                                                   Separate bond (if applicable):

       1                2                      3                                    4                                             5                 6                    7

   Transaction       Check /              Paid to/                     Description of Transaction               Uniform         Deposit        Disbursement         Balance
      Date            Ref. #           Received From                                                           Tran Code          $                 $


10/25/2017                     Bank of Texas                 Transfer Funds                                    9999-000      $149,292.38                            $149,292.38
10/26/2017            (25)     Gear for Sports, Inc.         Payment on Compromise w/Gear for                  1241-000         $17,365.65                          $166,658.03
                                                             Sports,Inc. p/o 10/3/2017 [DN156]
11/01/2017            (12)     Allen Maxwell & Silver Inc.   A/R Payment                                       1121-000               $85.00                        $166,743.03
11/03/2017                     Pinnacle Bank                 Pinnacle Analysis                                 2600-000                             $58.93          $166,684.10
11/17/2017            (12)     Allen Maxwell & Silver,       A/R Payment                                       1121-000               $85.00                        $166,769.10
                               Inc.
12/04/2017                     Pinnacle Bank                 Pinnacle Analysis                                 2600-000                            $260.41          $166,508.69
12/15/2017           5001      Insurance Partners Agency,    Blanket Bond 11/1/17-11/1/18; Policy              2300-000                             $56.04          $166,452.65
                               Inc.                          #3517698; Invoice No. 498194
12/18/2017            (12)     Allen Maxwell & Silver,       A/R Payment                                       1121-000               $85.00                        $166,537.65
                               Inc.
12/22/2017                     JP Morgan Chase Bank,         Turnover of Funds in Bank Account                     *               $806.53                          $167,344.18
                               NA
                      {10}                                   GROSS RECEIPTS                      $61,598.27    1129-000                                             $167,344.18
                      {9}                                                                            $100.00   1129-000                                             $167,344.18
                                                             Payment of JP Morgan              $(60,891.74)    4210-000                                             $167,344.18
                                                             Chase Bank secured claim
                                                             p/o 2/28/2017 [DN83]
01/03/2018            (12)     Michigan Sporting Goods       A/R Payment                                       1121-000            $367.35                          $167,711.53
                               Distributors, Inc.
01/08/2018                     Pinnacle Bank                 Pinnacle Analysis                                 2600-000                            $234.37          $167,477.16
01/22/2018            (12)     Allen Maxwell & Silver Inc.   A/R Payment                                       1121-000               $85.00                        $167,562.16
02/06/2018                     Pinnacle Bank                 Pinnacle Analysis                                 2600-000                            $270.40          $167,291.76
02/12/2018            (12)     Allen Maxwell & Silver Inc.   A/R Payment                                       1121-000               $85.00                        $167,376.76
02/19/2018            (27)     FedEx                         Payment on Settlement w/FedEx                     1241-000         $17,000.00                          $184,376.76
                                                             Corporation p/o 3/1/2018 [DN173]
02/23/2018           5002      ELIAS T. MAJOROS              Attorney for Trustee Fees p/o 2/23/18             3210-000                          $49,776.00         $134,600.76
                                                             [DN168]
02/23/2018           5003      ELIAS T. MAJOROS              Attorney for Trustee Expenses p/o                 3220-000                            $301.41          $134,299.35
                                                             2/23/18 [DN168]
02/27/2018           5004      Mueller & Company, PC         Accountant for Trustee Fees p/o                   3410-000                          $29,889.50         $104,409.85
                                                             2/26/2018 [DN170]
03/05/2018                     Pinnacle Bank                 Pinnacle Analysis                                 2600-000                            $245.92          $104,163.93
03/21/2018            (12)     Allen Maxwell & Silver Inc.   A/R Payment                                       1121-000               $85.00                        $104,248.93
03/30/2018                     Pinnacle Bank                 Pinnacle Analysis                                 2600-000                            $168.18          $104,080.75
04/13/2018            (12)     Allen Maxwell & Silver Inc.   A/R Payment                                       1121-000               $85.00                        $104,165.75
04/30/2018                     Pinnacle Bank                 Pinnacle Analysis                                 2600-000                            $162.60          $104,003.15
05/22/2018            (12)     Allen Maxwell & Silver Inc.   A/R Payment                                       1121-000            $160.71                          $104,163.86
05/31/2018                     Pinnacle Bank                 Pinnacle Analysis                                 2600-000                            $167.90          $103,995.96
06/19/2018           5005      Samuel D. Sweet, PLC          First Interim Attorney for Trustee Fees           3110-000                           $5,600.00          $98,395.96
                                                             p/o 6/15/2018 [DN185]

                 16-31984-mar               Doc 340          Filed 09/01/20             Entered 09/01/20 12:02:13      Page$87,191.66
                                                                                                              $185,587.62
                                                                                                                            36 of 45
                                                                                                           SUBTOTALS
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                                                                        FORM 2                                                                  Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                        Trustee Name:                            Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                       Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:             **-***2217                                                          Checking Acct #:                         ******0017
Co-Debtor Taxpayer ID #:                                                                               Account Title:                           DDA
For Period Beginning:              8/25/2016                                                           Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 8/28/2020                                                           Separate bond (if applicable):

       1                2                      3                                  4                                       5                 6                    7

   Transaction       Check /              Paid to/                   Description of Transaction         Uniform         Deposit        Disbursement          Balance
      Date            Ref. #           Received From                                                   Tran Code          $                 $


06/19/2018           5006      Samuel D. Sweet, PLC        First Interim Attorney for Trustee          3120-000                           $1,030.95           $97,365.01
                                                           Expenses p/o 6/15/2018 [DN185]
06/26/2018            (28)     United States Treasury      Refund from United States Treasury          1224-000               $49.23                          $97,414.24
06/29/2018                     Pinnacle Bank               Pinnacle Analysis                           2600-000                            $159.82            $97,254.42
07/31/2018                     Pinnacle Bank               Pinnacle Analysis                           2600-000                            $156.94            $97,097.48
08/31/2018                     Pinnacle Bank               Pinnacle Analysis                           2600-000                            $156.69            $96,940.79
09/13/2018            (29)     Blakeley LLP                Payment on Settlement w/Mizuno p/o          1241-000          $3,527.48                           $100,468.27
                                                           8/20/2018 [DN189]
09/19/2018           5007      Prudential                  Term Essential Insurance Policy Premium     2420-750                           $8,845.00           $91,623.27
                                                           Payment for 10/06/2018-10/05/2019;
                                                           Policy No. L8 476 153
09/28/2018            (12)     Torkin Manes LLP            DEPOSIT REVERSAL - NOT U.S.                 1121-000            $616.17                            $92,239.44
                                                           FUNDS
10/03/2018            (12)     Joseph A. Bledsoe, III,     A/R Payment                                 1121-000                $5.26                          $92,244.70
                               Chapter 13 Trustee
10/09/2018            (26)     Pruco Life Insurance        Turnover of Life Insurance Proceeds for     1229-000    $2,001,718.23                            $2,093,962.93
                               Company                     John J. Runyon
10/09/2018           5007      VOID: Prudential            VOID - Payment not required                 2420-753                          ($8,845.00)        $2,102,807.93
10/19/2018           5008      Insurance Partners          Supplemental Bond; Policy #4705629          2300-000                             $41.00          $2,102,766.93
                                                           10/10/18-10/10/19
10/29/2018           5009      Samuel D. Sweet, PLC        Attorney for Trustee Fees Second &          3110-000                           $5,850.00         $2,096,916.93
                                                           Final p/o 10/29/18 [DN207]
10/29/2018           5010      Samuel D. Sweet, PLC        Attorney for Trustee Expenses Second &      3120-000                            $432.74          $2,096,484.19
                                                           Final p/o 10/29/18 [DN207]
10/31/2018            (12)     Joseph A. Bledsoe, III,     A/R Payment                                 1121-000                $0.50                        $2,096,484.69
                               Chpt 13 Trustee
11/02/2018            (12)     DEP REVERSE: Torkin         DEPOSIT REVERSAL - NOT U.S.                 1121-000           ($616.17)                         $2,095,868.52
                               Manes LLP                   FUNDS
11/02/2018            (12)     Torkin Manes                A/R Payment - Check was already             1121-000            $616.17                          $2,096,484.69
                                                           scanned on 9/28/18 and reversed on
                                                           11/2/18 because of bank error. Mailing
                                                           check to Bank.
11/09/2018            (12)     Torkin Manes                Correction on deposit on 11/2/2018 for      1121-000           ($151.95)                         $2,096,332.74
                                                           $616.17 Canadian check that cleared for
                                                           $464.22
11/09/2018                     Pinnacle Bank               Banking Fee for Canadian Check              2600-000                             $35.00          $2,096,297.74
11/15/2018            5011     Melville Capital, LLC       Life Settlement Broker Fees p/o             3991-000                          $40,000.00         $2,056,297.74
                                                           11/14/2018 [DN222]
11/15/2018           5012      Melville Capital, LLC       Life Settlement Broker Expenses p/o         3992-000                           $2,450.00         $2,053,847.74
                                                           11/14/2018 [DN222]
11/30/2018           5013      Elias Majoros               Attorney for Trustee Fees p/o 11/29/18      3210-000                          $38,285.50         $2,015,562.24
                                                           [DN235]
11/30/2018           5014      Elias Majoros               Attorney for Trustee Expenses p/o           3220-000                            $374.23          $2,015,188.01
                                                           11/29/18 [DN235]
                 16-31984-mar               Doc 340       Filed 09/01/20              Entered 09/01/20 12:02:13       Page$88,972.87
                                                                                                           $2,005,764.92
                                                                                                                           37 of 45
                                                                                                     SUBTOTALS
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                                                                         FORM 2                                                                    Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                            Trustee Name:                           Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                           Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***2217                                                              Checking Acct #:                        ******0017
Co-Debtor Taxpayer ID #:                                                                                   Account Title:                          DDA
For Period Beginning:              8/25/2016                                                               Blanket bond (per case limit):          $2,000,000.00
For Period Ending:                 8/28/2020                                                               Separate bond (if applicable):

       1                2                      3                                   4                                          5                6                    7

   Transaction       Check /              Paid to/                     Description of Transaction           Uniform         Deposit      Disbursement           Balance
      Date            Ref. #           Received From                                                       Tran Code          $               $


12/05/2018                     Pinnacle Bank                 REFUND - Banking Fee for Canadian             2600-000                           ($35.00)         $2,015,223.01
                                                             Funds
12/10/2018           5015      Insurance Partners Agency,    Chapter 7 Blanket Bond 2018/2019              2300-000                           $282.21          $2,014,940.80
                               Inc.                          Renewal; Policy No. 3517698
01/22/2019            (21)     DGW Enterprises, LLC          Payment on Sale of Trademarks and             1121-000          $5,000.00                         $2,019,940.80
                                                             Domains p/o 1/15/2019 [DN258]
02/15/2019           5016      D4, LLC                       Administrative Expense for Mailing of         2990-000                           $187.69          $2,019,753.11
                                                             Notices; Invoice No. SI-31661
03/11/2019           5017      Charter Township of Flint     Payment for Interim Distribution p/o          4110-000                          $7,328.09         $2,012,425.02
                                                             3/7/2019 [DN268]
03/11/2019           5018      Comptroller of Public         Payment for Interim Distribution p/o          5800-000                          $2,120.39         $2,010,304.63
                               Accounts                      3/7/2019 [DN268]
03/11/2019           5019      Michigan Department of        Payment for Interim Distribution p/o          5800-000                         $44,749.44         $1,965,555.19
                               Treasury                      3/7/2019 [DN268]
03/11/2019           5020      United Parcel Service         Payment for Interim Distribution p/o          7100-000                           $976.20          $1,964,578.99
                                                             3/7/2019 [DN268]
03/11/2019           5021      Estes Express Lines           Payment for Interim Distribution p/o          7100-000                           $389.09          $1,964,189.90
                                                             3/7/2019 [DN268]
03/11/2019           5022      U.S. Bank, N.A. dba U.S.      Payment for Interim Distribution p/o          7100-000                         $13,487.75         $1,950,702.15
                               Bank Equipment Finance        3/7/2019 [DN268]
03/11/2019           5023      Cobra Puma Golf, Inc.         STOP PAYMENT ADDRESS                          7100-003                         $21,588.54         $1,929,113.61
                                                             CHANGED BY CREDITOR ON
                                                             6/24/19; Payment for Interim Distribution
                                                             p/o 3/7/2019
03/11/2019           5024      Acushnet Company              Payment for Interim Distribution p/o          7100-000                         $36,750.00         $1,892,363.61
                                                             3/7/2019 [DN268]
03/11/2019           5025      Consumer Testing              Payment for Interim Distribution p/o          7100-000                           $595.03          $1,891,768.58
                               Laboratories Inc.             3/7/2019 [DN268]
03/11/2019           5026      Clear Rate                    STOP PAYMENT ADDRESS                          7100-003                          $4,714.35         $1,887,054.23
                               Communications, Inc.          CHANGED ON 6/24/19; Payment for
                                                             Interim Distribution p/o 3/7/2019
03/11/2019           5027      Plymouth Packaging Inc.       Payment for Interim Distribution p/o          7100-000                          $2,493.48         $1,884,560.75
                                                             3/7/2019 [DN268]
03/11/2019           5028      Brent Spangenberg Sales       Payment for Interim Distribution p/o          7100-000                          $1,705.68         $1,882,855.07
                                                             3/7/2019 [DN268]
03/11/2019           5029      CONSUMERS ENERGY              Payment for Interim Distribution p/o          7100-000                          $4,216.95         $1,878,638.12
                               COMPANY                       3/7/2019 [DN268]
03/11/2019           5030      Interactive Frontiers, Inc.   Payment for Interim Distribution p/o          7100-000                           $105.00          $1,878,533.12
                                                             3/7/2019 [DN268]
03/11/2019           5031      Dynamic Brands                Payment for Interim Distribution p/o          7100-000                          $2,715.85         $1,875,817.27
                                                             3/7/2019 [DN268]
03/11/2019           5032      FedEx Corporate Services      Payment for Interim Distribution p/o          7100-000                          $3,732.41         $1,872,084.86
                               Inc. as Assignee              3/7/2019 [DN268]


                 16-31984-mar                Doc 340         Filed 09/01/20            Entered 09/01/20 12:02:13     Page
                                                                                                              $5,000.00
                                                                                                                          38 of 45
                                                                                                                        $148,103.15
                                                                                                         SUBTOTALS
                                                                                                                                                  Page No: 8
                                                                       FORM 2                                                                 Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                      Trustee Name:                            Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                     Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:             **-***2217                                                        Checking Acct #:                         ******0017
Co-Debtor Taxpayer ID #:                                                                             Account Title:                           DDA
For Period Beginning:              8/25/2016                                                         Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 8/28/2020                                                         Separate bond (if applicable):

       1                2                      3                                 4                                      5                 6                    7

   Transaction       Check /                Paid to/                 Description of Transaction       Uniform         Deposit     Disbursement             Balance
      Date            Ref. #             Received From                                               Tran Code          $              $


03/11/2019           5033      Advanced Carrier            Payment for Interim Distribution p/o      7100-000                          $10,819.95         $1,861,264.91
                               Technologies, LLC           3/7/2019 [DN268]
03/11/2019           5034      Spanner Ltd.                Payment for Interim Distribution p/o      7100-000                           $1,125.18         $1,860,139.73
                                                           3/7/2019 [DN268]
03/11/2019           5035      HongKong YuHui Indus.       VOID CHECK PER ORDER                      7100-003                         $378,271.39         $1,481,868.34
                               Co., Ltd.                   CONCERNING CLAIM NO. 20
                                                           DATED 5/2/2019
03/11/2019           5036      TEAM EFFORT, INC.           VOID CHECK - Creditor Amended             7100-003                           $2,219.49         $1,479,648.85
                                                           Claim to correct name and address
03/11/2019           5037      Pitney Bowes Global         Payment for Interim Distribution p/o      7100-000                            $291.52          $1,479,357.33
                               Financial Services LLC      3/7/2019 [DN268]
03/11/2019           5038      Pitney Bowes Global         Payment for Interim Distribution p/o      7100-000                            $829.28          $1,478,528.05
                               Financial Services LLC      3/7/2019 [DN268]
03/11/2019           5039      Mizuno USA c/o Cindy        Payment for Interim Distribution p/o      7100-000                           $3,224.72         $1,475,303.33
                               Bobbitt                     3/7/2019 [DN268]
03/11/2019           5040      Bell Warehousing & Mfg.     Payment for Interim Distribution p/o      7100-000                           $2,510.40         $1,472,792.93
                               Service                     3/7/2019 [DN268]
03/11/2019           5041      Coast to Coast Logistics,   Payment for Interim Distribution p/o      7100-000                            $247.00          $1,472,545.93
                               LLC                         3/7/2019 [DN268]
03/11/2019           5042      RZD, PLC                    Payment for Interim Distribution p/o      7100-000                         $122,500.00         $1,350,045.93
                                                           3/7/2019 [DN268] - Power of Atty (Doc
                                                           #266) - c/o Arlen International Corp.
03/11/2019           5043      Ping, Inc.                  Payment for Interim Distribution p/o      7100-000                          $16,558.74         $1,333,487.19
                                                           3/7/2019 [DN268]
03/11/2019           5044      Taylor Made Golf            Payment for Interim Distribution p/o      7100-000                          $45,524.13         $1,287,963.06
                               Company, Inc.               3/7/2019 [DN268]
03/11/2019           5045      RZD, PLC                    Payment for Interim Distribution p/o      7100-000                         $774,950.04          $513,013.02
                                                           3/7/2019 [DN268] - Power of Atty (Doc
                                                           #265)- c/o Pro Saturn Industrial Co.
03/11/2019           5046      Ashlor Staffing Services    Payment for Interim Distribution p/o      7100-000                           $1,273.30          $511,739.72
                                                           3/7/2019 [DN268]
03/11/2019           5047      Comptroller of Public       Payment for Interim Distribution p/o      7100-000                            $147.70           $511,592.02
                               Accounts                    3/7/2019 [DN268]
03/11/2019           5048      MacNeill Engineering Co     Payment for Interim Distribution p/o      7100-000                          $26,098.83          $485,493.19
                               Inc                         3/7/2019 [DN268]
03/11/2019           5049      Canadian American           Payment for Interim Distribution p/o      7100-000                          $10,789.81          $474,703.38
                                                           3/7/2019 [DN268]
03/11/2019           5050      Task Performance Group,     Payment for Interim Distribution p/o      7100-000                           $1,480.50          $473,222.88
                               Inc.                        3/7/2019 [DN268]
03/11/2019           5051      Custom Branded              Payment for Interim Distribution p/o      7200-000                           $5,859.02          $467,363.86
                               Sportswear Inc              3/7/2019 [DN268]
03/13/2019           5052      Werre & Betzen Sales, Inc   Payment of Interim Distribution p/o       7100-000                           $3,963.32          $463,400.54
                                                           3/12/2019 [DN272]


                 16-31984-mar                 Doc 340      Filed 09/01/20            Entered 09/01/20 12:02:13 $0.00
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                                                                                                                     $1,408,684.32
                                                                                                   SUBTOTALS
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                                                                       FORM 2                                                                         Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          16-31984-MAR                                                               Trustee Name:                            Samuel D. Sweet
Case Name:                        KING PAR, LLC                                                              Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:            **-***2217                                                                 Checking Acct #:                         ******0017
Co-Debtor Taxpayer ID #:                                                                                     Account Title:                           DDA
For Period Beginning:              8/25/2016                                                                 Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 8/28/2020                                                                 Separate bond (if applicable):

       1                2                      3                                 4                                              5                 6                    7

   Transaction       Check /             Paid to/                    Description of Transaction               Uniform         Deposit      Disbursement           Balance
      Date            Ref. #          Received From                                                          Tran Code          $               $


03/26/2019           5053      Callaway Golf Co            Payment of Interim Distribution p/o                   *                             $19,385.04         $444,015.50
                                                           3/26/2019 [DN275], Should have been
                                                           paid $34,385.04, however, Trustee is
                                                           receiving $15,000.00 for preference asset
                                                           30
                                                                                             $(19,385.04)    7100-000                                             $444,015.50
                                                           Trustee is receiving               $(15,000.00)   7100-000                                             $444,015.50
                                                           $15,000.00 p/o 3/26/19
                                                           [DN275]
                      {30}                                 Payment for Preference             $15,000.00     1241-000                                             $444,015.50
                                                           complaint against
                                                           Calloway Golf p/o 3/26/19
                                                           [DN275]
04/08/2019           5054      Samuel D. Sweet             First Interim Trustee Fees p/o 4/5/2019           2100-000                          $76,041.84         $367,973.66
                                                           [DN277]
04/09/2019           5055      Elias Majoros               Attorney for Trustee Fees (Third                  3210-000                          $21,898.00         $346,075.66
                                                           Interim) p/o 4/8/2019 [DN279]
04/09/2019           5056      Elias Majoros               Attorney for Trustee Expenses (Third              3220-000                            $558.56          $345,517.10
                                                           Interim) p/o 4/8/2019 [DN279]
04/22/2019           5036      VOID: TEAM EFFORT,          VOID CHECK - Creditor Amended                     7100-003                          ($2,219.49)        $347,736.59
                               INC.                        Claim to correct name and address
04/22/2019           5057      BWS&S Incorporated          Payment for Interim Distribution p/o              7100-000                           $2,219.49         $345,517.10
                                                           3/7/2019 [DN268]
05/03/2019           5058      JPMorgan Chase Bank,        Payment for Interim Distribution p/o              7100-000                          $26,551.00         $318,966.10
                               N.A.                        4/30/2019 [DN282]
05/06/2019           5035      VOID: HongKong YuHui        VOID CHECK PER ORDER                              7100-003                      ($378,271.39)          $697,237.49
                               Indus. Co., Ltd.            CONCERNING CLAIM NO. 20
                                                           DATED 5/2/2019
05/06/2019           5059      Howard & Howard             Payment for Interim Distribution p/o              7100-000                         $378,271.39         $318,966.10
                               Attorneys PLLC              3/7/2019 [DN268]
05/30/2019           5060      Mueller & Company, P.C.     Accountant for Trustee Fees Second &              3410-000                          $15,028.50         $303,937.60
                                                           Final p/o 5/30/2019 [DN293]
05/30/2019           5061      Mueller & Company, P.C.     Accountant for Trustee Expenses Second            3420-000                              $22.31         $303,915.29
                                                           & Final p/o 5/30/2019 [DN293]
06/24/2019           5023      STOP PAYMENT: Cobra         STOP PAYMENT ADDRESS                              7100-004                         ($21,588.54)        $325,503.83
                               Puma Golf, Inc.             CHANGED BY CREDITOR ON
                                                           6/24/19
06/24/2019           5026      STOP PAYMENT: Clear         STOP PAYMENT ADDRESS                              7100-004                          ($4,714.35)        $330,218.18
                               Rate Communications, Inc.   CHANGED ON 6/24/19
06/24/2019           5062      Cobra Puma Golf, Inc.       Payment for Interim Distribution p/o              7100-000                          $21,588.54         $308,629.64
                                                           3/7/2019 [DN268]
06/24/2019           5063      Clear Rate                  Payment for Interim Distribution p/o              7100-000                           $4,714.35         $303,915.29
                               Communications, Inc.        3/7/2019 [DN268]
09/10/2019            (31)     State of Michigan           Payment of Unclaimed Funds                        1290-000          $1,781.82                          $305,697.11

                 16-31984-mar              Doc 340         Filed 09/01/20              Entered 09/01/20 12:02:13     Page
                                                                                                              $1,781.82
                                                                                                                          40 of 45
                                                                                                                        $159,485.25
                                                                                                        SUBTOTALS
                                                                                                                                                       Page No: 10
                                                                          FORM 2                                                                   Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                            Trustee Name:                           Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                           Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***2217                                                              Checking Acct #:                        ******0017
Co-Debtor Taxpayer ID #:                                                                                   Account Title:                          DDA
For Period Beginning:              8/25/2016                                                               Blanket bond (per case limit):          $2,000,000.00
For Period Ending:                 8/28/2020                                                               Separate bond (if applicable):

       1                2                      3                                    4                                         5                6                   7

   Transaction       Check /              Paid to/                     Description of Transaction           Uniform         Deposit     Disbursement           Balance
      Date            Ref. #           Received From                                                       Tran Code          $              $


11/20/2019           5064      Ronald Clifford               Payment of Administrative Claim p/o           3991-120                         $10,169.80         $295,527.31
                                                             11/20/19 [DN323]
12/02/2019           5065      Department of Labor           DFVCP King Par, LLC XX-XXXXXXX                2690-000                          $1,500.00         $294,027.31
12/10/2019           5066      Insurance Partners Agency,    Blanket Bond 11/1/2019 - 11/1/2020            2300-000                           $122.41          $293,904.90
                               Inc.
02/11/2020           5067      Elias Majoros                 Prorata final distribution - Distribution     3210-000                         $16,570.00         $277,334.90
                                                             Dividend: 100.00; on Claim #: ;
02/11/2020           5068      Mueller & Company, PC         Prorata final distribution - Distribution     3410-000                          $2,523.00         $274,811.90
                                                             Dividend: 100.00; on Claim #: ;
02/11/2020           5069      Samuel D. Sweet               Trustee Expenses                              2200-000                           $132.40          $274,679.50
02/11/2020           5070      Samuel D. Sweet               Trustee Compensation                          2100-000                         $16,351.13         $258,328.37
02/11/2020           5071      United States Bankruptcy      Prorata final distribution - Distribution     2700-000                          $1,750.00         $256,578.37
                               Court                         Dividend: 100.00; on Claim #: ;
02/11/2020           5072      Elias Majoros                 Prorata final distribution - Distribution     3220-000                           $188.60          $256,389.77
                                                             Dividend: 100.00; on Claim #: ;
02/11/2020           5073      United Parcel Service         Prorata final distribution - Distribution     7100-000                           $159.23          $256,230.54
                                                             Dividend: 40.73; on Claim #: 1;
02/11/2020           5074      Estes Express Lines           Prorata final distribution - Distribution     7100-000                            $63.46          $256,167.08
                                                             Dividend: 40.73; on Claim #: 4;
02/11/2020           5075      Werre & Betzen Sales, Inc     Prorata final distribution - Distribution     7100-000                           $646.47          $255,520.61
                                                             Dividend: 40.73; on Claim #: 5;
02/11/2020           5076      U.S. Bank, N.A. dba U.S.      Prorata final distribution - Distribution     7100-000                          $2,199.97         $253,320.64
                               Bank Equipment Finance        Dividend: 40.73; on Claim #: 6;
02/11/2020           5077      Cobra Puma Golf, Inc.         Prorata final distribution - Distribution     7100-000                          $3,521.28         $249,799.36
                                                             Dividend: 40.73; on Claim #: 7;
02/11/2020           5078      Acushnet Company              Prorata final distribution - Distribution     7100-000                          $5,994.25         $243,805.11
                                                             Dividend: 40.73; on Claim #: 8;
02/11/2020           5079      Consumer Testing              Prorata final distribution - Distribution     7100-000                            $97.04          $243,708.07
                               Laboratories Inc.             Dividend: 40.73; on Claim #: 9;
02/11/2020           5080      Clear Rate                    Prorata final distribution - Distribution     7100-000                           $768.98          $242,939.09
                               Communications, Inc.          Dividend: 40.73; on Claim #: 10;
02/11/2020           5081      Plymouth Packaging Inc.       Prorata final distribution - Distribution     7100-000                           $406.71          $242,532.38
                                                             Dividend: 40.73; on Claim #: 11;
02/11/2020           5082      Brent Spangenberg Sales       Prorata final distribution - Distribution     7100-000                           $278.21          $242,254.17
                                                             Dividend: 40.73; on Claim #: 12;
02/11/2020           5083      CONSUMERS ENERGY              Prorata final distribution - Distribution     7100-000                           $687.81          $241,566.36
                               COMPANY                       Dividend: 40.73; on Claim #: 14;
02/11/2020           5084      Interactive Frontiers, Inc.   STOP PAYMENT - CHECK SENT TO                  7100-003                            $17.13          $241,549.23
                                                             WRONG ADDRESS
02/11/2020           5085      Dynamic Brands                Prorata final distribution - Distribution     7100-000                           $442.97          $241,106.26
                                                             Dividend: 40.73; on Claim #: 16;
02/11/2020           5086      FedEx Corporate Services      Prorata final distribution - Distribution     7100-000                           $608.79          $240,497.47
                               Inc. as Assignee              Dividend: 40.73; on Claim #: 17;

                 16-31984-mar                Doc 340         Filed 09/01/20              Entered 09/01/20 12:02:13 $0.00
                                                                                                                      Page$65,199.64
                                                                                                                           41 of 45
                                                                                                         SUBTOTALS
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                                                                        FORM 2                                                                    Exhibit 9
                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                          Trustee Name:                            Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                         Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:             **-***2217                                                            Checking Acct #:                         ******0017
Co-Debtor Taxpayer ID #:                                                                                 Account Title:                           DDA
For Period Beginning:              8/25/2016                                                             Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 8/28/2020                                                             Separate bond (if applicable):

       1                2                      3                                  4                                         5                 6                   7

   Transaction       Check /              Paid to/                   Description of Transaction           Uniform         Deposit     Disbursement            Balance
      Date            Ref. #           Received From                                                     Tran Code          $              $


02/11/2020           5087      Advanced Carrier            Prorata final distribution - Distribution     7100-000                           $1,764.82         $238,732.65
                               Technologies, LLC           Dividend: 40.73; on Claim #: 18;
02/11/2020           5088      Spanner Ltd.                Prorata final distribution - Distribution     7100-000                            $183.53          $238,549.12
                                                           Dividend: 40.73; on Claim #: 19;
02/11/2020           5089      Howard & Howard             Prorata final distribution - Distribution     7100-000                          $61,699.39         $176,849.73
                               Attorneys, PLLC             Dividend: 40.73; on Claim #: 20;
02/11/2020           5090      Team Effort Incorporated    Prorata final distribution - Distribution     7100-003                            $362.01          $176,487.72
                                                           Dividend: 40.73; on Claim #: 21;
02/11/2020           5090      VOID: Team Effort           VOID CHECK - Written to wrong                 7100-003                           ($362.01)         $176,849.73
                               Incorporated                recipient
02/11/2020           5091      Pitney Bowes Global         Prorata final distribution - Distribution     7100-000                             $47.54          $176,802.19
                               Financial Services LLC      Dividend: 40.73; on Claim #: 22;
02/11/2020           5092      Pitney Bowes Global         Prorata final distribution - Distribution     7100-000                            $135.25          $176,666.94
                               Financial Services LLC      Dividend: 40.73; on Claim #: 23;
02/11/2020           5093      Mizuno USA c/o Cindy        Prorata final distribution - Distribution     7100-000                           $1,961.97         $174,704.97
                               Bobbitt                     Dividend: 40.73; on Claim #: 24;
02/11/2020           5094      Bell Warehousing & Mfg.     Prorata final distribution - Distribution     7100-000                            $409.46          $174,295.51
                               Service                     Dividend: 40.73; on Claim #: 25;
02/11/2020           5095      Coast to Coast Logistics,   Prorata final distribution - Distribution     7100-000                             $40.29          $174,255.22
                               LLC                         Dividend: 40.73; on Claim #: 26;
02/11/2020           5096      Callaway Golf Co            Prorata final distribution - Distribution     7100-000                           $5,608.50         $168,646.72
                                                           Dividend: 40.73; on Claim #: 27;
02/11/2020           5097      RZD, PLC                    Prorata final distribution - Distribution     7100-000                          $19,980.83         $148,665.89
                                                           Dividend: 40.73; on Claim #: 28; Power
                                                           of Atty (Doc #266) - c/o Arlen
                                                           International Corp.
02/11/2020           5098      Ping, Inc.                  Prorata final distribution - Distribution     7100-000                           $2,700.87         $145,965.02
                                                           Dividend: 40.73; on Claim #: 29;
02/11/2020           5099      Taylor Made Golf            Prorata final distribution - Distribution     7100-000                           $7,425.39         $138,539.63
                               Company, Inc.               Dividend: 40.73; on Claim #: 30;
02/11/2020           5100      PRO SATURN                  Prorata final distribution - Distribution     7100-000                         $126,401.16          $12,138.47
                               INDUSTRIAL CO.              Dividend: 40.73; on Claim #: 31;
02/11/2020           5100      VOID: PRO SATURN            VOID CHECK - WRITTEN TO                       7100-003                     ($126,401.16)           $138,539.63
                               INDUSTRIAL CO.              WRONG RECIPIENT
02/11/2020           5101      Ashlor Staffing Services    Prorata final distribution - Distribution     7100-000                            $207.69          $138,331.94
                                                           Dividend: 40.73; on Claim #: 32;
02/11/2020           5102      Comptroller of Public       Prorata final distribution - Distribution     7100-000                             $24.09          $138,307.85
                               Accounts                    Dividend: 40.73; on Claim #: 33;
02/11/2020           5103      MacNeill Engineering Co     Prorata final distribution - Distribution     7100-000                           $4,256.94         $134,050.91
                               Inc                         Dividend: 40.73; on Claim #: 35;
02/11/2020           5104      Canadian American           Prorata final distribution - Distribution     7100-000                           $1,759.91         $132,291.00
                                                           Dividend: 40.73; on Claim #: 37;
02/11/2020           5105      Task Performance Group,     Prorata final distribution - Distribution     7100-000                            $241.48          $132,049.52
                               Inc.                        Dividend: 40.73; on Claim #: 38;
                 16-31984-mar                 Doc 340      Filed 09/01/20              Entered 09/01/20 12:02:13 $0.00
                                                                                                                    Page 42 of 45
                                                                                                                       $108,447.95
                                                                                                       SUBTOTALS
                                                                                                                                                             Page No: 12
                                                                          FORM 2                                                                         Exhibit 9
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                           16-31984-MAR                                                                 Trustee Name:                            Samuel D. Sweet
Case Name:                         KING PAR, LLC                                                                Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:             **-***2217                                                                   Checking Acct #:                         ******0017
Co-Debtor Taxpayer ID #:                                                                                        Account Title:                           DDA
For Period Beginning:              8/25/2016                                                                    Blanket bond (per case limit):           $2,000,000.00
For Period Ending:                 8/28/2020                                                                    Separate bond (if applicable):

       1                2                      3                                    4                                              5                 6                   7

   Transaction       Check /              Paid to/                     Description of Transaction                Uniform         Deposit     Disbursement            Balance
      Date            Ref. #           Received From                                                            Tran Code          $              $


02/11/2020           5106      JPMorgan Chase Bank,          Prorata final distribution - Distribution          7100-000                           $4,330.70         $127,718.82
                               N.A.                          Dividend: 40.73; on Claim #: 42;
02/11/2020           5107      Custom Branded                Prorata final distribution - Distribution          7200-000                            $955.65          $126,763.17
                               Sportswear Inc                Dividend: 40.73; on Claim #: 40;
02/11/2020           5108      RZD, PLC                      Prorata final distribution - Distribution          7100-000                         $126,401.16                 $362.01
                                                             Dividend: 40.73; on Claim #: 31;
02/11/2020           5109      BWS&S Incorporated            Prorata final distribution - Distribution          7100-000                            $362.01                    $0.00
                                                             Dividend: 40.73; on Claim #: 21;
05/13/2020           5073      STOP PAYMENT: United          Prorata final distribution - Distribution          7100-004                           ($159.23)                 $159.23
                               Parcel Service                Dividend: 40.73; on Claim #: 1;
05/13/2020           5101      STOP PAYMENT: Ashlor          Prorata final distribution - Distribution          7100-004                           ($207.69)                 $366.92
                               Staffing Services             Dividend: 40.73; on Claim #: 32;
05/13/2020           5081      STOP PAYMENT:                 Prorata final distribution - Distribution          7100-004                           ($406.71)                 $773.63
                               Plymouth Packaging Inc.       Dividend: 40.73; on Claim #: 11;
05/13/2020           5077      STOP PAYMENT: Cobra           Prorata final distribution - Distribution          7100-004                          ($3,521.28)            $4,294.91
                               Puma Golf, Inc.               Dividend: 40.73; on Claim #: 7;
05/13/2020            5110     United Parcel Service         Prorata final distribution - Distribution          7100-000                            $159.23              $4,135.68
                                                             Dividend: 40.73; on Claim #: 1;
05/13/2020            5111     Ashlor Staffing Services      Prorata final distribution - Distribution          7100-000                            $207.69              $3,927.99
                                                             Dividend: 40.73; on Claim #: 32;
05/13/2020            5112     Plymouth Packaging Inc.       Prorata final distribution - Distribution          7100-000                            $406.71              $3,521.28
                                                             Dividend: 40.73; on Claim #: 11;
05/13/2020            5113     Cobra Puma Golf, Inc.         Prorata final distribution - Distribution          7100-000                           $3,521.28                   $0.00
                                                             Dividend: 40.73; on Claim #: 7;
05/19/2020           5084      STOP PAYMENT:                 Prorata final distribution - Distribution          7100-004                             ($17.13)                 $17.13
                               Interactive Frontiers, Inc.   Dividend: 40.73; on Claim #: 15;
05/19/2020            5114     Interactive Frontiers, Inc.   Prorata final distribution - Distribution          7100-000                             $17.13                    $0.00
                                                             Dividend: 40.73; on Claim #: 15;
06/08/2020           5094      STOP PAYMENT: Bell            Prorata final distribution - Distribution          7100-004                           ($409.46)                 $409.46
                               Warehousing & Mfg.            Dividend: 40.73; on Claim #: 25;
06/08/2020           5095      STOP PAYMENT: Coast           Prorata final distribution - Distribution          7100-004                             ($40.29)                $449.75
                               to Coast Logistics, LLC       Dividend: 40.73; on Claim #: 26;
06/08/2020            5115     United States Bankruptcy      Payment of Unclaimed Funds                             *                               $449.75                    $0.00
                               Court
                                                                                                    $(409.46)   7100-000                                                       $0.00
                                                                                                     $(40.29)   7100-001                                                       $0.00




                 16-31984-mar                Doc 340         Filed 09/01/20              Entered 09/01/20 12:02:13 $0.00
                                                                                                                      Page 43 of 45
                                                                                                                         $132,049.52
                                                                                                           SUBTOTALS
                                                                                                                                                       Page No: 13
                                                                       FORM 2                                                                      Exhibit 9
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         16-31984-MAR                                                              Trustee Name:                           Samuel D. Sweet
Case Name:                       KING PAR, LLC                                                             Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:           **-***2217                                                                Checking Acct #:                        ******0017
Co-Debtor Taxpayer ID #:                                                                                   Account Title:                          DDA
For Period Beginning:            8/25/2016                                                                 Blanket bond (per case limit):          $2,000,000.00
For Period Ending:               8/28/2020                                                                 Separate bond (if applicable):

      1                 2                    3                                   4                                            5                6                   7

  Transaction        Check /            Paid to/                     Description of Transaction            Uniform          Deposit      Disbursement          Balance
     Date             Ref. #         Received From                                                        Tran Code           $               $


                                                                TOTALS:                                                  $2,198,134.36   $2,198,134.36                 $0.00
                                                                    Less: Bank transfers/CDs                               $149,292.38           $0.00
                                                                Subtotal                                                 $2,048,841.98   $2,198,134.36
                                                                    Less: Payments to debtors                                    $0.00           $0.00
                                                                Net                                                      $2,048,841.98   $2,198,134.36


 For the period of 8/25/2016 to 8/28/2020                                            For the entire history of the account between 10/25/2017 to 8/28/2020

 Total Compensable Receipts:                         $2,124,733.72                   Total Compensable Receipts:                             $2,124,733.72
 Total Non-Compensable Receipts:                             $0.00                   Total Non-Compensable Receipts:                                 $0.00
 Total Comp/Non Comp Receipts:                       $2,124,733.72                   Total Comp/Non Comp Receipts:                           $2,124,733.72
 Total Internal/Transfer Receipts:                     $149,292.38                   Total Internal/Transfer Receipts:                         $149,292.38


 Total Compensable Disbursements:                    $2,274,026.10                   Total Compensable Disbursements:                        $2,274,026.10
 Total Non-Compensable Disbursements:                        $0.00                   Total Non-Compensable Disbursements:                            $0.00
 Total Comp/Non Comp Disbursements:                  $2,274,026.10                   Total Comp/Non Comp Disbursements:                      $2,274,026.10
 Total Internal/Transfer Disbursements:                      $0.00                   Total Internal/Transfer Disbursements:                          $0.00




                16-31984-mar                Doc 340     Filed 09/01/20               Entered 09/01/20 12:02:13                        Page 44 of 45
                                                                                                                                                       Page No: 14
                                                                        FORM 2                                                                     Exhibit 9
                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         16-31984-MAR                                                               Trustee Name:                          Samuel D. Sweet
Case Name:                       KING PAR, LLC                                                              Bank Name:                             Pinnacle Bank
Primary Taxpayer ID #:           **-***2217                                                                 Checking Acct #:                       ******0017
Co-Debtor Taxpayer ID #:                                                                                    Account Title:                         DDA
For Period Beginning:            8/25/2016                                                                  Blanket bond (per case limit):         $2,000,000.00
For Period Ending:               8/28/2020                                                                  Separate bond (if applicable):

      1                 2                    3                                    4                                             5              6                   7

  Transaction        Check /            Paid to/                      Description of Transaction            Uniform          Deposit      Disbursement         Balance
     Date             Ref. #         Received From                                                         Tran Code           $               $




                                                                                                                                                  NET           ACCOUNT
                                                                           TOTAL - ALL ACCOUNTS                    NET DEPOSITS              DISBURSE          BALANCES

                                                                                                                          $2,228,873.76 $2,228,873.76                  $0.00




 For the period of 8/25/2016 to 8/28/2020                                             For the entire history of the case between 08/25/2016 to 8/28/2020

 Total Compensable Receipts:                          $2,304,765.50                   Total Compensable Receipts:                             $2,304,765.50
 Total Non-Compensable Receipts:                              $0.00                   Total Non-Compensable Receipts:                                 $0.00
 Total Comp/Non Comp Receipts:                        $2,304,765.50                   Total Comp/Non Comp Receipts:                           $2,304,765.50
 Total Internal/Transfer Receipts:                      $149,292.38                   Total Internal/Transfer Receipts:                         $149,292.38


 Total Compensable Disbursements:                     $2,304,765.50                   Total Compensable Disbursements:                        $2,304,765.50
 Total Non-Compensable Disbursements:                         $0.00                   Total Non-Compensable Disbursements:                            $0.00
 Total Comp/Non Comp Disbursements:                   $2,304,765.50                   Total Comp/Non Comp Disbursements:                      $2,304,765.50
 Total Internal/Transfer Disbursements:                 $149,292.38                   Total Internal/Transfer Disbursements:                    $149,292.38




                                                                                                       /s/ SAMUEL D. SWEET
                                                                                                       SAMUEL D. SWEET




                16-31984-mar                Doc 340      Filed 09/01/20               Entered 09/01/20 12:02:13                        Page 45 of 45
